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i Translation from Estonian

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NORTH POLICE PREFECTURE

MINUTES ON QUESTIONING OF WITNESS
in the criminal matter No. 06730000225

29" September 2006 Tallinn
Investigative proceeding started at: 15:15 /time/

Kaari Tehver- Leading Police Inspector of the Economic Crime Division of the Crime

Department of the North Police Prefecture,
[name and professional status of the official conducting the proceeding]

guided by sections 68, 74 and 146 of the Code of Criminal Procedure, questioned as witness:
1. Witness’ personal data:

1) Name: Valdo Seiler

[given names & surname]

2) Personal identification code or date of birth: 36905130333
{date of birth if the personal identification code is missing]

3) Citizenship: Republic of Estonia
[Estonian or other]

4) Education: vocational
[elementary, basic, high, vocational, higher]

5) Residence or location: Riidaku village, Rapla county, 78403

{address or will not be stated upon request of the witness]

6) Place of work or educational institution: OU Riidaku Tédékoda
[name or will not be stated upon request of the witness]

7) Contact data: phone: 5251380

[number of communication means or e-mail address]

8) Relation to victim and suspect: employer
[what is the kind of relations]

9) Identity established by: EE574014

[name of document, etc.]

OE

  

The rights and obligations of witness: : CER.
A witness shall give truthful testimony unless there are lawful grounds specified in sections 71-7 roo Ae

for refusal to give testimony (section 66 (3)). The rights and obligations of witesses and the ri

testimony in hand-writing shall be explained-jpranwitressotaeasion 68 (1)). While giving testimon
use notes and other documents concerning numerical data, names and other information whi

 
  

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descendants and ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
accused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the suspect or
accused: a step or foster parent or a step or foster child of the suspect or accused; an adoptive parent or an
- adopted child of the suspect or accused; the spouse of or a person permanently living together with the suspect or
accused, and the parents of the spouse or person, even if the marriage or permanent cohabitation has ended
(section 71 (1)), A witness may refuse to give testimony also if the testimony may lay blame on him or her or a
person listed in subsection (1) of this section for the commission of a criminal offence or a misdemeanour and if
he or she is convicted or acquitted as accompanying perpetrator or an accomplice for the same crime (section 71
(2)). The following persons have the right to refuse to give testimony as witnesses conceming the circumstances
which have become known to them in their professional activities: the ministers of religion of the religious
organisations registered in Estonia; counsels and notaries unless otherwise provided by law; health care
professionals and pharmacists regarding circumstances concerning the descent, artificial insemination, family or
health of a person; persons on whom the obligation to maintain a professional secret has been imposed by law
(section 72 (1)). A witness has the right to refuse to give testimony concerning circumstances to which the State
Secrets Act applies (section 73 (1)).

2. Rights and obligations have been explained to witness pursuant to sections 66-73 of the
Code of Criminal Procedure. A witness of at least 14 year old has been warned that the
unjustified refusal from giving testimony and giving knowingly false testimony are
punishable by a pecuniary punishment pursuant to sections 318 and 320 of the Penal Code.

 

/signature/ (signature of witness)

3, Investigative proceeding is attended by interpreter? .........+00+. [mame and contact address]
who has been warned of the liability for the unjustified refusal to perform his or her duties and
for the provision of a knowingly false interpretation pursuant to sections 318, 321 of the Penal
Code.

(signature of interpreter)

4. Testimony:

In the summer of 2006, in June (I do not remember the exact date) I went to the territory of
the Seaplane Harbor with my own transport to pick up a load of birch splinters. First time,
when I went to that territory, I noticed, that they were removing by cranes large concrete slabs
from the open storage area near the dock, the slabs were loaded by crane directly into the
truck. About three days later I went to the territory of the Seaplane Harbor to pick up the
second load of birch splinters, and at the time when my vehicle was being loaded, I noticed,
that the railroad tracks were being removed there, which, in their turn, were loaded into the
truck with distinguishing marks of Kuusakoski company. By that time most of the concrete
slabs had already been removed from that open storage area. On the same day I also saw them
cutting off by gas welding the crane which was standing on the dock of the port. By that
moment the crane boom had already been cut off. About a-week later, when I was at a dining
place located beside the crossroad of Kiili and Luige roads, I noticed two trucks which were
transporting exactly similar concrete slabs. As this operation filled me with doubt, then I
wrote down the plate numbers of these trucks: from one truck I got the truck number
(registration number 235 ANC) and from the other truck I got the trailer number (registration
number 305BR). As far as I remember, I notified the Ministry of Defence about this issue, as I
assumed that this Seaplane Harbor will be returned to them. After the time when the Seaplane

Justice and informed them of what I had seen taking place there.

 

 
 
 

5. Notes on minutes: The minutes have been written according to my words and hav¢ As
ny,

read through by me. /signatur e/ EXT-ROTKO-090103
[contents or absence of notes, minutes of hearing are read personally or read out]

 
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6. Participants of the investigative proceeding have been explained that pursuant to section
214 of the Code of Criminal Procedure information concerning the pre-trial proceedings shall
be disclosed only with the permission of and to the extent specified by the Prosecutor’s
Office.

Investigation proceeding finished at: [time]

saat K. Tehver /signature/ ......+++ ...+. Waldo Seiler /signature/ .......

[name of person conducting the proceeding] [name of the witness]

 

 

Translator Kadi Kuusk has been warned of the liability pursuant to sections 318, 321 of the Penal Code. be”
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BAR INISTRY OF JUSTICE 22.42.2022

Basis: AVTS § 35!g1p1,AvTS §35lag1p3
Holder of information: Ministry of Justice

Department of Justice 22.12.2017 Our ref. 12-1 /8926-2
Criminal Division

Office of International Affairs

1301 New York Ave, NW 9th floor

Washington D.C. 20530

U.S.A.

Re: Extradition of Aleksandr Rotko

Ministry of Justice of Estonia hereby presents additional information in the extradition case of
Aleksandr Rotko.

Yours sincerely

 

Astrid Laurendt-Hanioja \
Head of International Judicial Co-operation Unit

Enclosures.

Ministry of Justice/ Suur-Ameerika 1 / 10122 Tallinn / ESTONIA/ +372 620 8100 /fax +372 620 8109/
info@just.ee / www.just.ee
Reg.no 70000898

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PROKURATUUR

 

Ameerika Uhendriikide padev digusasutus

Vastus 12.12.2017 nr PRP-10/17/7203
seoses Eesti Vabariigi Prokuratuurile
esitatud valjaandmistaotlusega

I Asjaolud ja menetluse kaik

12.11.2012.a esitas Péhja Ringkonnaprokuratuuri vanemprokurér Maria Entsik Ameerika
Uhendriikide padevale digusasutusele valjaandmistaotluse Aleksandr Rotko  suhtes
kriminaalasja nr 06730000427 raames. Taotlus esitati tuginedes 08.02.2006.a Eesti Vabariigi
valistuse ja Ameerika Uhendriikide valitsuse vahel allkirjastatud valjaandmislepingule.

Taotluse kohaselt paluti Ameerika Uhendriikidel anda Eesti Vabariigile valja Aleksandr Rotko
(isikukood 34902270228, siindinud 27.02.1949.a Ukrainas).

16.11.2017.a esitati seoses A. Rotko valjaandmismenetlusega Eesti Vabariigile aruparimine,
mille sisu on kokkuvotvalt jargmine:

- palutakse selgitada, millise aktuaalse dokumenti alusel siliidistatkase A. Rotko’d, samuti
vajatakse selgistust sellele, et vanemprokurér M. Entsik’u teenistussuhe on peatatud;

- palutakse lisatéendeid selle kohta, et valjaandmistaotlusele lisatud isiku pilt on tegelikult A.
Rotko’st tehtud foto;

~ palutakse esitada tdiendavad téenduslikud iiksikasjad (rangemad téendid) selle kohta, mida,
kellele ja millal A. Rotko iitles ja tegi, et edukalt miiiia riigiomandi lohkumisest saadud
vanametalli ning saada miiiigist raha;

- samuti palutakse selgitusi selle kohta, et A. Rotko’d ei ole kajastatud Eesti Karistusregisrtis.

Il Prokuréri selgitused

Mina, Andrei Voronin, olen Eesti Vabariigi kodanik ning alates 20.08,1990,a olen olnud Eesti
Vabariigi prokurér. Minu ametiiilesanneteks on juhtida kohtueelset kriminaalmenetlust, tagades
selle seaduslikkuse ja tulemuslikkuse, ning esindada kohtus riiklikku siliidistust isikute vastu,
kes on toime pannud kuriteo Eesti Vabariigi seaduste kohaselt. Vanemprokurdr Maria Entsik’u
ametisuhe on peatatud ajutiselt seoses lapsehoolduspuhkusega, kuid kdiki kriminaalmenetluse
tilesandeid teostavad kuni antud juhtumi l6pliku lahendamiseni Pohja Ringkonnaprokuratuuri
prokurérid, kdesoleval momendil - mina, Andrei Voronin.

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Ringkonnaprokurérina oma tddiilesandeid tdites olen ma tutvunud kriminaalasja or
06730000427 materjalidega, mille raames on kogutud tdendid ja milles Aleksandr Rotko’d
(isikukood 34902270228) kahtlustatakse selles, et tema koos Olga Kotova’ga (isikukood
47711285211) rikkusid ja havitasid tahtlikult Eesti Vabariigi omandis olevaid ehitisi ja rajatisi
Tallinnas Kuti 17 ja 17a territooriumil, millega tekitasid Eesti Vabariigile olulist varalist kahju
summas | 988 260 Eesti krooni (ehk 127 072,97 eurot). Kriminaalasi on kohtueelse menetluse
staadiumis. Aleksandr Rotko on asunud kriminaalmenetlusest kérvale hoiduma ning lahkus
Eesti Vabariigist.

Vastavalt KrMS § 457 lg 3 koostab vdlisriigile esitatava taotluse isik valja anda kohtueelses
menetluses prokuratuur.

Kaesoleva vastuse osas I nimetatud valjaandmistaotlus on esitatud Ameerika Uhendriikidele
palvega anda Eesti Vabariigile valja kahtlustatav Aleksandr Rotko eesmirgiga esitada talle
siiiidistus Eesti Vabariigi karistusseadustiku § 201 lg 2 p 4 ja § 203 jargi ning saata Aleksandr
Rotko kohtu alla kandma vastutust tema poolt toime pandud kuritegude eest.

Ul Karistusregistri andmed

KooskGlas Karistusregistri seaduse § 6 punktidega 1 ja 2 kantakse registrisse isiku
karistusandmed jargmiste kohtulahendite ja ametnike otsuste alusel:

1) j6ustunud siliidimdistev kohtuotsus kriminaalasjas;

2) kohtuvilise menetleja ja kohtu jdustunud otsus karistuse maaramise vdi mdistmise kohta
vaarteoasjas, valja arvatud kohtuvdlise menetleja otsus hoiatamismenetluses;

3) kohtumaarus isikule psiihhiaatrilise sundravi kohaldamise kohta;

4) kohtumaarus nooremale kui kaheksateistaastasele isikule mdjutusvahendi kohaldamise
kohta;

5) kohtu véi kohtuvalise menetleja otsus v6i madrus, mis pohineb kaesoleva paragrahvi
punktides 1-4 nimetatud otsusel v6i ma4rusel ning sisaldab kfiesoleva seaduse §-s 12 stitestatud
andmeid;

6) Vabariigi Presidendi otsus siliidimdistetu armuandmispalve labivaatamise kohta;

7) jéustunud siitidimGistev valisriigi kohtuotsus kriminaalasjas Eesti kodaniku véi Eestis
elamisluba v6i elamisdigust omava vilismaalase suhtes, kelle karistusandmed on Vdlisriik
edastanud v6i kelle siiiidimdistvat kohtuotsust on Eesti kohus tunnustanud.

Seega juhul, kui isik ei ole kohtulikult karistatud v6i tema suhtes ei ole kohtuotsusele
vordvaarset kohtuméfrust, ei kajastata tema andmeid Karistusregistris.

Informatsiooni, et isiku kohta on kdimas olev kriminaalmenetlus, saab kitte ainult muudest
registritest, nagu nditeks Kriminaalmenetluse registrist (asutatud Vabariigi Valitsuse
pohimaéaruse alusel RT 1 2001, 22, 121), kuid need registrid ei ole avalikud ning juurdepaas
nendele on olemas ainult volitatud ametnikel, sealhulgas prokuratuuril ja politseil.

IV Téendid A. Rotke poolt korralduste andmise kohta

Kriminaalasja eeluurimise kaigus on tuvastatud, et aadressil Kuti tn 17 ja 17a, Tallinn, kust on
ilma valdaja ehk Justiitsministeeriumi loata eemaldatud ehitiste ja rajatiste olulised osad,
tegutsesid jargmised ettevdtted: Ela Tolli AS — juhatuse liige Aleksandr Rotko, OU Agrion
Partion — juhatuse liige Olga Kotova, AS BPV -- juhatuse liige Olga Kotova, Ella Kaubanduse
OU —juhatuse liige Aleksandr Rotko.

Menetluse kaigus tile kuulatud tunnistajate iitlustest nahtub, et nimetatud ettevétete igapdevast

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tegevust juhtis Aleksandr Rotko. Vastavalt uurimise kdigus tehtud pdringutele on selgunud, et
raudteerelsid ja sadamakai katteplaadid on territooriumilt eemaldatud Aleksandr Rotko
korraldusel ning miiiidud maha AS BPV poolt, kelle nimelt on miliigidokumendid allkirjastanud
nii Olga Kotova kui ka Aleksandr Rotko.

Eeluurimisega on tuvastatud, et sadamakai teekatteplaadid miliidi Paldiski Sadamate AS-le
vastavalt poolte vahel s6lmitud lepingule ja AS BPV poolt esitatud 25.08.2006.a miiiigiarvele
nr 292 summas 2 528 727,20 krooni. Seejuures on AS BPV 25.08.2006.a esitanud Paldiski
Sadamate AS-le avalduse kanda eelpoo! nimetatud arvel olev summa vastavalt AS BPV ja Taani
ettevétte Merimpex Co. Ltd omavahelisele kokkuleppele arveldusarvele nr 5005786729
Nordea Bank Denmark A/S, International Branch, Strandgade 3 Postboks 850 0900 Kobenhavn
Cc.

Lisaks on eeluurimisega tuvastatud, et Paldiski Sadamate AS-i finantsjuht Aivi Vaher ei
ndéustunud AS BPV sooviga kanda kogu miiiigisumma Taani ettevétte arvele ning ta kandis
miliigiarvel margitud kogusummast kaibemaksu osa 385 738,05 krooni kaibemaksukohuslasest
miltija AS BPV arveldusarvele nr 221016089551 Hansapank AS-is (kaesoleval ajal Swedbank
AS). Ulejainud summa 2 142989,15 krooni kandis Aivi Vahter 06.09.2006.a Taani
Kuningriigis Nordea pangas asuvale Taani ettevGtte Merimpex Co.Ltd arveldusarve nr
5005786729.

Eeltoodust tulenevalt on menetlejal tekkinud kahtlus, et Aleksandr Rotko ja Olga Kotova on
kuritegelikul tee! saadud raha 2 142 989,15 krooni omastanud, milline tegu on kvalifitseeritav
kuriteona KarS § 201 jargi.

Seoses vajadusega esitada rangemad tdendid A. Rotko kditumise kohta lisab prokuratuur
kdesolevale vastusele jargmised t6endid:

° 08.08.2016.a peeti rahvusvaheliselt tagaotsitavana kinni Olga Kotova (Lisa nr 1).
06.10,2016.a kahtlustatavana Ulekuulatuna andis O, Kotova ititlusi, millest tulenevalt oli tema
aritihingutes OU Agrin Partion (ariregistri kood 10259785; registrist kustutatud 31.07.2013),
AS Verest (ariregistri kood 10381687, registrist kustutatud 13.09.2010) ja AS BPV (ariregistri
kood 10379236, registrist kustutatud 01.07.2011), juhatuse liige ning Ela Tolli AS (ariregistri
kood 10712954, registrist kustutatud 21.03.2016) néukogu liige. Aleksandr Rotko oli AS
Verest (kustutatud), AS BPV (kustutatud) néukogu liige ja Ela Tolli AS (kustutatud) juhatuse
liige. Lisaks oli Aleksandr Rotko OU Ella Kaubanduse (driregistri kood 10448316, registrist
kustutatud 14.08.2012) juhatuse ainuliige ja ainuosanik, milline ettevéte oli omakorda Olga
Kotova juhitud OU Agrin Partion (kustutatud) ainuosanik. Tema faktilisteks tilesandeks oli
sekretari t66. Aritihingute juhtimist ja praktilise tegevuse suunamist teostas Aleksandr Rotko,
kelle palvel kirjutas O. Kotova dokumentidele ning arvetele alla (Lisa nr 2).

. 23.11.2016.a kuulati tunnistajana tile Olga Novoseltseva, kes kinnitas, et ,, Rotko tiritas
maha miliia kéike, mida ta ise oli sinna paigutanud ja rajanud ja mida sai maha miiiia, sest et
tema firmad pidid territooriumilt lahkuma.“ (Lisa nr 3).

“ Kriminaalmenetluse materjalidest nahtub, et suurem osa rahast oli kantud Taani
Kuningriigis Nordea pangas asuvale ettevétte Merimpex Co.Ltd arveldusarvele nr 5005786729.
29.01.2007.a tegi Péhja Ringkonnaprokuratuur Gigusabitaotluse Taani Kuningriigile,
kontrollimaks raha liikumist. Vastusele lisatud konto valjatriikkidest tulenevalt kontrollis
arveldusarvet ja oli alates 25,09.1996.a ettevdtte Merimpex Co.Ltd volitatud isikuks Aleksandr
Rotko (Lisa nr 4).

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Seega oli Aleksandr Rotko nii lammutamise organisaator kui lammutamise materjalide miliigist
saadud raha kasusaaja.

VA. Rotko isiku tuvastamine

Koosk6las Eesti Vabariigi kriminaalmenetluse normidega teostati Aleksandr Rotko isiku
aratundmine, mille tulemusena tundis tunnistaja O. Novoseltseva A. Rotko’d . Protokoll
lisatakse kdesolevale vastusele (Lisa nr 5).

VIA. Rotko siilidistusdokument

Koosk6las Eesti Vabariigi kriminaalmenetluse normidega ei vormistata riigi poolt isikule
adresseeritud karistusdiguslikku etteheidet eraldi dokumendina kuni _ siliidistusasja
iileandmiseni kohtule arutamiseks. Sellisel juhul koostab prokurér Kriminaalmenetluse
seadustiku § 154 ja § 226 Ig | alusel siliidistusakti ning saadab selle kohtusse.

Enne siliidistusakti koostamist s6nastatakse siliidistuse definitsioon kahtlustatava ilekuulamise
protokolli osana, mis vormistatakse kahtlustatava faktilisel tlekuulamisel.

Kuna Aleksandr Rotko hoidub menetlusest k6rvale ja varjab ennast, ei ole temale tanaseni
personaalselt kahtlustust esitatud.

Samas juhul, kui enne kahtlustuse esitamist rakendatakse isiku suhtes sunnimeetmeid,
formuleeritakse riigi poolt isikule adresseeritud karistusdiguslik etteheide sunnimeedet
rakendava kohtulahendina, milleks kaesoleval juhul oli Harju Maakohtu 25.08.2007.a madrus,
millega otsustati vahistada A. Rotko kui menetlusest kérvalehoiduv ja tagaotsitavaks
kuulutatud isik. 25.08.2007.a maruse télge oli lisatud valjaandmistaotlusele.

Samuti tuvastas Tallinna Ringkonnakohus Olga Kotova vahistuse kiisimuse arutamisel, et nii
Aleksandr Rotko kui Olga Kotova olid juba alates 2007. aastast teadlikud nende suhtes labi
viidavast kriminaalmenetlusest (Lisa nr 6).

VII Kokkuvite

Kinnitan, et kdik eeltoodu vastab téele minu parima teadmise kohaselt. Eelkirjeldatut silmas
pidades, palun Eesti Vabariigi nimel valja anda Aleksandr Rotko Eesti Vabariigile tema suhtes
kriminaalmenetluse labiviimiseks, siliidistuse esitamiseks ja tema kohtu alla andmiseks.

Olen andnud endast parima, et esitada t6endeid valjaandmistaotluse rahuldamiseks. Juhul, kui
USA padevad ametiasutused vajavad taiendavat inforatsiooni taotluse lahendamiseks, kinnitan
kogu lugupidamisega, et olen valmis esitama vajalikku lisainformatsiooni enne otsuse

langetamist.
Andrei Voronin 4 Coe,
Ringkonnaprokurér (

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Lisad:

1. Euroopa rahvusvahelise siisteemi ,,SIRENE“ kaudu edastatud teade Olga Kotova
kinnipidamise kohta.

2. Olga Kotova kahtlustatavana itlekuulamise 06,10.2016.a protokoll koos talkega.

3. Olga Novoseltseva tunnistajana tilekuulamise 23.11.2016.a protokoll koos télkega.

4. Taani Kuningriigi digusabitaotlusele vastuse materjalid: O. Kotova poolt allkirjastatud
korraldus raha suunamiseks ettevdéttele Merimpex Co.Ltd, Merimpex Co.Ltd nimele
arveldusarve avamise dokumendid.

5. Olga Novoseltseva poolt Aleksandr Rotko dratundmise protokoll koos télkega.

6. Tallinna Ringkonnakohtu 10.10.2016.a méaarus kriminaalasjas nr 1-07-10649
(06730000427).

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Competent judicial authority of the United States of America

Response to the Prosecutor's Office of 12.12.2017 no PRP-10/17/7203
the Republic of Estonia regarding
the request for extradition

I Facts and proceedings

Maria Entsik, Senior Prosecutor of the Northern District Prosecutor’s Office presented a
request for extradition of Aleksandr Rotko to the competent judicial authority of the United
States of America in criminal matter no 06730000427 on 12.11.2012. The request was
presented based on the agreement on extradition signed by the government of the Republic of
Estonia and the government of the United States of America on 08.02.2006.

According to the request, the United States of America was asked to extradite Aleksandr Rotko (personal
identification code 34902270228, bom on 27.02.1949 in Ukraine) to the Republic of Estonia.

On 16.11.2017, interpellation was presented to the Republic of Estonia concerning the
extradition proceeding of A. Rotko; summarized content of the interpellation was as follows:

- arequest to explain based on which actual document is A. Rotko accused, and explanation
on service suspension of the Senior Prosecutor M. Entsik;

- request to present additional evidence that the photograph added to the request of
extradition is in fact made by A. Rotko;

- request to present additional evidential details (more severe evidence) on what, to whom
and when A. Rotko said and did to successfully sell scrap metal obtained by damaging
state property and make money from the sales;

- itis also asked to explain the fact that A. Rotko is not reflected in the punishment Rogie
of the Republic of Estonia. A

Ul Explanations of the Prosecutor

    
   

 
      

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proceedings are legal and effective, and represent public prosecution against persons who have
committed a criminal offence under the laws of the Republic of Estonia. The service of Senior
Prosecutor Maria Entsik has been temporarily suspended due to maternity leave, but all tasks
of criminal proceedings are being fulfilled until final settlement of the present case by the
Prosecutors of the Northern District Prosecutor's Office; at this moment, me, Andrei Voronin.

    
 

Ant has been translated by Unicom Translation Agency (Unicom Télkeabiiroo OU) and
fo the original text in Estonian.

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Fulfilling my obligations as a District Prosecutor, I have studied the materials of criminal
matter no 06730000427 , within the framework of which evidence has been gathered and in
which Aleksandr Rotko (personal identification code 34902270228) together with Olga
Kotova (personal identification code 47711285211) is suspected of intentionally damaging and
destroying constructions and facilities on the territory of Kuti 17 and 17a in Tallinn belonging
to the Republic of Estonia and caused substantial material damage to the Republic of Estonia
in the amount of 1 988 260 Estonian kroons (that is 127 072.97 euros). The criminal matter is
in the stage of pre-trial proceedings, Aleksandr Rotko has assumed absconding from the
criminal proceedings and has left the Republic of Estonia.

According to § 457 (3) of the Code of Criminal Procedure, a request for extradition of a person
to be submitted to a foreign state shall be prepared by the prosecutor’s office in a pre-trial
proceeding.

The request of extradition stated in part I to the present response has been submitted to the
United States of America to extradite the suspect Aleksandr Rotko to the Republic of Estonia
with the purpose to bring charges against Aleksandr Rotko pursuant to § 201 (2) (4) and § 203
of the Penal Code of the Republic of Estonia and prosecution of Aleksandr Rotko and holding
him liable for criminal offences committed by him.

Il] Punishment register data

Pursuant to § 6 clauses 1 and 2 of the Punishment Register Act, information concerning
punishments of persons shall be entered in the database on the basis of the following court
decisions and decisions of the following officials:

1) aconviction in a criminal matter which has entered into force;

2) a decision of an extra-judicial body or a court judgement on the imposition of punishment
In a misdemeanour matter which has entered into force, except a decision of an extra-
judicial body in caution procedure;

3) acourt ruling ordering coercive psychiatric treatment of a person;

4) a court ruling on the application of a sanction with regard to a person younger than
eighteen years of age;

5) ajudgement, decision, ruling or order of a court or extra-judicial body which is based on a
decision or judgement specified in clauses 1 to 4 of this section and which contains
information specified in § 12 of this Act;

6) a resolution of the President of the Republic on the review of and appeal for pardon of a
convicted offender;

7) a foreign conviction in a criminal matter against an Estonian citizen or an alien who holds
a residence permit or right of residence in Estonia which has entered into force, if
information concerning his or her punishment has been communicated by a foreign state
or if an Estonian court has recognised the judgement of conviction.

   

   
 

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Iv Ewid k Featicn sivinn tha eid

During preliminary investigation it has been established that the following companies operated
at address Kiti street 17 and Kiiti street 17a, Tallinn, where significant parts of constructions
and buildings were removed without authorisation of t he holder, i.e, the Ministry of Justice:

Ela Tolli AS — member of the Board Aleksandr Rotko, OU Agrion Partion — member of
the Board Olga Kotova, AS BPV — member of the Board Olga Kotova, Ella Kaubanduse OU —
member of the Board Aleksandr Rotko.

Statements of the witnesses heard during the proceedings demonstrate that everyday operations
of the above companies were managed by Aleksandr Rotko. Inquiries made during the
investigation show that railroad tracks and harbour pier cover slabs were removed from the
territory on the order of Aleksandr Rotko and sold by AS BPV; the sales documents on behalf
of AS BPV were signed by Olga Kotova and Aleksandr Rotko.

It has been established with preliminary investigation that the harbour pier road covering slabs
were sold to Paldiski Sadamate AS according the contract entered by the parties and sales
invoice no 292 issued by AS BPV on 25.08.2006 in the amount of 2 528 727.20 Estonian
kroons. In doing so, AS BPV has submitted an application to Paldiski Sadamate AS on
25.08.2006 to transfer the amount of the above invoice to a bank account no 5005786729
Nordea Bank Denmark A/S, International Branch, Strandgade 3 Postboks 850 0900
Kobenhavn C according to an agreement between AS BPV and Danish company Merimpex
Co. Ltd.

Preliminary investigation has additionally established that the Financial Manager of Paldiski
Sadamate AS, Aivi Vaher, did not agree to AS BPV’s request to transfer the whole sales amount
to the bank account of the Danish company and transferred the VAT part on the above invoice in
the amount of 385 738.05 kroons to the bank account no 221016089551 Hansapank AS (currently
Swedbank AS) the seller, AS BPV, who is the person liable to value added tax. Rest of the sum
amounting to 2 142 989.15 kroons was transferred by Aivi Vaher to bank account of Danish
company Merimpex Co.Ltd no 5005786729 Nordea Bank in the Kingdom of Denmark.

Based on the above, the body conducting criminal proceedings has developed a doubt that
Aleksandr Rotko and Olga Kotova have appropriated the funds obtained through criminal
activities in the amount of 2 142 989.15 kroons which is punishable as a crime under § 201 of
the Penal Code.

With regard to the need for presentation of more severe evidence about behaviour of A.
Rotko, the Prosecutor’s Office adds the following evidence to the present response:

e Olga Kotova was apprehended as an international fugitive on 08.08.2016 (Annex 1).
During hearing as a suspect on 06.10.2016, O. Kotova gave testimonies according to which
she was member of the Board of her companies OU Agrin Partion (business registration code
10259785; deleted from register on 31.07.2013) AS Verest (reg.code 10381687, deleted from
register on 13.09.2010) and AS BPV (reg. code 10379236, deleted figs rranptety
01.07.2011) and member of the Council of or Ela Tolli AS (reg. code 10712924, delete
register on 21.03.2016), Aleksandr Rotko was member of the Council of Ag
___AS BPV (deleted) and member of the Board of Ela Tolli AS (deleted). Addi
Aakatko was the sole Board member and shareholder of OU Ella Kaubandus eg.
ae 14.08.2012) which was in turn oe sole shareholder of OU Agrin™t

    
   
     

   

   

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managed by Olga Kotova. Her factual tasks included tasks of a secretary. Management of he
companies and directing of practical operations were executed by Aleksandr Rotko on whose
request O. Kotova signed the documents and invoices (Annex 2).

e On 23.11.2016, Olga Novoseltseva was heard as a witness; she confirmed that “Rotko tried
to sell anything he had installed and constructed there himself and that could be sold
because his companies had to leave the territory." (Annex 3).

* The criminal proceeding documents show that most of the money was transferred to bank
account of Danish company Merimpex Co.Ltd no 5005786729 Nordea Bank in the
Kingdom of Denmark. On 29.01.2007, the Northern District Prosecutor's Office submitted
a letter rogatory to the Kingdom of Denmark with the purpose to check movements of the
money. By virtue of account printouts added to the response, the bank account was
managed by Aleksandr Rotko who was the authorised person of Merimpex Co.Ltd as of
25.09.1996 (Annex 4).

   
  

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I in Estonian.

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Thus, Aleksandr Rotko was the organiser of demolition as well as beneficiary of funds
received from selling the demolition materials.

Videntification of A. Rotko
In accordance with the criminal procedure rules of the Republic of Estonia, identification of

Aleksandr Rotko was executed on the result of which the witness O. Novoseltseva recognized
A. Rotko. Minutes is added to the present response (Annex 5).

VI Statement of charges of A, Rotko

In accordance with the criminal procedure rules of the Republic of Estonia, the State shall not
prepare a penal claim addressed to a person as a separate document until presentation of the
charges to court for hearing. In such an event, the Prosecutor shall prepare a statement of
charges pursuant to § 154 and § 226 (1) of the Code of Criminal Procedure and presents it to
the court.

Before preparation of the statement of charges, the definition of the charge shall be defined as
a part of the minutes of hearing that is formalised in the course of factual hearing of the

suspect.

Since Aleksandr Rotko absconds the proceedings and is hiding himself, suspicion has not been
presented to him in person.

On the other hand, if coercive measures are imposed on a person before submission of
suspicion, the penal claim addressed to a person is formalized by the State as a court ruling
imposing coercive measures which in this case was the 25.08.2007 ruling of Harju County
Court on arrest warrant of A. Rotko as person absconding the proceedings and declared a
fugitive. Translation of the 25.08.2007 ruling was added to the request of extradition.

Tallinn Circuit Court also established during the hearing discussing the arrest of Olga Kotova,
that both Aleksandr Rotko and Olga Kotova were aware of the criminal proceedings against
them already since 2007 (Annex 6).

VII Summary

I hereby verify that the above is true according to my best knowledge. Considering the above
and in the name of the Republic of Estonia, I hereby ask extradition of Aleksandr Rotko to the
Republic of Estonia with the purpose of criminal proceedings, bringing of charges and
prosecution.

I have done my best to present the evidence necessary for satisfying the request of extradition.
In case the competent authorities of the United States require additional data for solving the
application, I hereby verify with all due respect that I am ready to pre 3
additional information before making of the decision.

  

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Annexes:

1. Notification on detention of Olga Kotova forwarded via European international “SIRENE”
system.

2. Minutes of Olga Kotova’s 06.10.2016 hearing as a suspect together with its translation.

3. Minutes of Olga Novoseltseva’s 23.11.2016 hearing as a witness together with its
translation.

4, Materials of response of the Kingdom of Denmark to the letter rogatory: O. Order of
directing the funds to company Merimpex Co.Ltd signed by Kotova, documents of
opening a bank account on the name of Merimpex Co.Ltd.

5. Minutes of identification of Aleksandr Rotko by Olga Novoseltseva together with its
translation.

6. 10.10.2016 ruling of Tallinn Circuit Court in criminal matter no 1-07-10649
(06730000427).

 

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Pracectng Earogee wat bertiors
G. MATCHING’AN ALERT (HIT)
. :

Form details

Date + time of message 001. |2016-08-08 06:42 UTC

Message reference number. 002. |2016080051

Sending SIRENE 003. |FINLAND (0015)

Destination SIRENE 004. |ESTONIA (0017)

Schengen reference number 005. |EE0000000000019000001

Important notice 311. |URGENT:
URGENT! ARREST!

Identity

Family names 006. |KOTOVA // KOTOVA

First names 007. [OLGA // OLGA

Date of birth 009. |19771128

Name at birth 008.

Gender 012. |Female (0001)

Nationalities 013. |JESTONIA (0233)

Place of birth 010.

Identity alias number 310, |0001

Main record 316. |NO

Alias 011i.

Previously used name(s) 266.

Details of the matching of the

alert (hit)

Place, date, time the alert 085. |Helsinki-Vantaa International Airport

was hit . 8.8.2016 at 8.30 O'clock

Circumstances surrounding the |986. |Border control when w/p arrived from

hit the United States

Department that hit the alert |087. |Finnish Border Guards

and followed the relevant

procedures

Actions taken 088. |W/p is taken into custody

Information request 089, |Dear colleagues; we kindly ask you to
urgently inform us about the validity
of the European Arrest Warrant, about
the time limit when the crime expires
to be precise. We also kindly ask you
to send us the original EAW and the
translation into Finnish or English as
soon as possible. Please send the EAWs
to the address: sirene.krp@poliisi.fi.

Additional information 090.

Authority currently 091. |{Sirene Finland/Martina

responsible for dealing with

the hit

 

 

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@ Politsei-ja Piirivalveamet
KAHTLUSTATAVA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000427

06.10.2016 Tallinn
Uurimistoimingu algus: 10.05

Politsei-ja Piirivalveameti Pohja prefektuuri kriminaalbiiroo raskete kuritegude talituse
iildkuritegude teenistuse politseileitnant Siret Ratsepp, juhindudes KrMS §-dest 34, 75, 76 ja

146, kuulas iile kahtlustatava:
Nimi: Olga Kotova
Isikukood vi siinniaeg: 28.11.1977 (ik 47711285211)
Perekonnaseis: lahutatud
Kodakondsus: Ameerika Uhendriigid
ag Haridus: korgem
Emakeel: vene keel

Elu- voi asukoht ja aadress: 148 South Arabella way Saint Johns, Ameerika Uhendriigid
Tédkoht voi Sppeasutus: ei tédta

Kontaktandmed: tel 9048145452, olganewaddress@hotmail.com

Isikusamasus tuvastatud: Ameerika Uhendriikide pass nr 547393916

KrMS § 34. Kahtlustatava digused ja kohustused
Kahtlustataval on digus: teada kahtlustuse sisu ja anda selle kohta itlusi vdi keelduda iitluste
andmisest; teada, et tema Utlusi véidakse kasutada siltidistuseks tema vastu; kaitsja abile; télgi
abile; kohtuda kaitsjaga teiste isikute juuresolekuta; kaitsja juuresolekul olla iile kuulatud,
osaleda vastastamisel, iitluste seostamisel olustikuga ja tema ratundmiseks esitamisel; osaleda
vahistamistaotluse arutamisel kohtus; esitada t6 ndeid; esitada taotlusi ja kaebusi; tutvuda
menetlustoimingu protokolliga ning teha menetlustoimingu tingimuste, kdigu ja tulemuste ning
protokolli kohta avaldusi, mis protokollitakse; anda ndusolek kokkuleppemenetluse
& kohaldamiseks, osaleda kokkuleppemenetluse labiréakimistel, teha ettepanekuid kohaldamisele

kuuluva karistusliigi ja -maira kobta ning sdlmida v6i sdlmimata jatta kokkuleppemenetluse
kokkulepe. KrMS § 75 lg 3' alusel on kahtlustataval ja tema kaitsjal Gigus saada iilekuulamise
kdigus koopia kahtlustatava ilekuulamise protokollist kdesoleva seadustiku § 76 |g 1 p-des 1-3
sétestatud ulatuses.
Kahtlustatav on kohustatud: ilmuma uurimisasutuse, prokuratuuri v6i kohtu kutsel; osalema
menetlustoimingus ning alluma uurimisasutuse, prokuratuuri ja kohtu korraldustele.
2. Kahtlustatavale on tutvustatud tema Gigusi ja kohustusi ning selgitatud nende sisu.

Ly
(kahtlustatava allkiri)

Uurimistoimingus osaleb tlk Ele Uutmaa, kes on KrMS § 161 ldike 6 kohaselt kohustatud
tolkima kéik menetlustoimingusse puutuva tapselt ja tdielikult ning hoidma saladuses talle
talkimisel teatavaks saanud andmeid. Teda on hoiatatud, et oma iilesannete taitmisest alusetu
keeldumise ja teadvalt valesti télkimise eest vastutab ta KarS §-de 318 ja 321 jargi. ~,

*® (olei allkiri)
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Ulekuulamisel osaleb:
oe - yandeadvokaat Janek Valdma (Advokaadibilroo Valdma & Partnerid)
- tingkonnaprokurér Andrei Voronin (Pohja Ringkonnaprokuratuur)

Kasutatud tehnikavahendid: ei kasutatud.

Kvalifikatsioon: Olga Kotova’t kahtlustatakse KarS § 203 jargi (alates 01.01.2015 KarS § 203 lg
| jargi) kvalifitseeritava kuriteo toimepanemises, mis seisnes alljargnevas.

Olga Kotova oli OU Agrin Partion (ariregistri kood 10259785; registrist kustutatud 31.07.2013),
AS Verest (Ariregistri kood 10381687, registrist kustutatud 13.09.2010) ja AS BPV (ariregistri
kood 10379236, registrist kustutatud 01.07.2011), juhatuse liige ning Ela Tolli AS (ariregistri
kood 10712954, registrist kustutatud 21.03.2016) néukogu liige. Aleksandr Rotko oli AS Verest
(kustutatud), AS BPV (kustutatud) néukogu liige ja Ela Tolli AS (kustutatud) juhatuse liige.
Lisaks oli Aleksandr Rotko OU Ella Kaubanduse (ariregistri kood 10448316, registrist
kustutatud 14.08.2012) juhatuse ainuliige ja ainuosanik, milline ettevdte oli omakorda Olga
Kotovajuhitud OU Agrin Partion (kustutatud) ainuosanik.

@ Olga Kotova, tegutsedes thiselt ja kooskélastatult Aleksandr Rotko’ga, ajavahemikul
07.06.2006.a kuni 01.08.2006.a rikkus ja havitas tahtlikult Eesti Vabariigi omandis, kuid
filalmainitud ettevdtete valduses olevaid ehitisi ja rajatisi asukohaga Kiiti 17 ja 17a, Tallinn,
millega tekitas Eesti Vabariigile olulist varalist kahju. Nimelt:

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Tallinn, Kuti 17 ja 17a oleval
kinnistul asuvalt sadamakailt ebaseaduslikult, s.t ima omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Aleksandr Rotko ja Olga Kotova korraldusel sadamakai
olulised osad — teekatteplaadid suuruses 0,14x2,00x6,00 kokku 460 tk, katteplaadid
suuruses 0,13x1,23x1,6 kokku 164 tk ning katteplaadid suuruses 0,13x1,23x0,94 kokku
35 tk, tekitades Eesti Vabariigile varalist kahju plaatide maksumuse ulatuses, s.o
1 755 096,60 krooni suuruses summas;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Tallinn, Kiiti 17 ja 17a asuvalt
kinnistult ebaseaduslikult, s.t ima omaniku Eesti Vabariigi esindaja Justiitsministeeriumi
loata, Aleksandr Rotko ja Olga Kotova korraldusel kinnistu territooriumi varavad ja
{dhuti need, tekitades Eesti Vabariigile varalist kahju kogusummas 33 040 krooni;

ai - ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Kiti 17 ja 17a, Tallinn asuvalt territooriumilt Eesti
Vabariigile kuuluva kinnistu olulise osa ~ raudteerdépad kogukaaluga 66,6 tonni ning
koguvaartusega 156 060 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas
156 060 krooni;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Kiiti 17 ja 17a, Tallinn territooriumil asuy Eesti Vabariigile
kuulunud katlamaja hoone ning eemaldati sealt demonteerimise teel kittekatlad
vadrtusega 12 500 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas 12 500
krooni;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Aleksandr ‘Rotko ja Olga Kotova
Korraldusel ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Kiiti 17 ja 17a, Tallinn territooriumi! asuv Eesti Vabariigile
kuuluy puidutédstushoone ning eemaldati sealt demonteerimise teel kittekatlad

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vairtusega 25 000 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas 25 000
krooni;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, st. ilma omaniku Eesti Vabarligi esindaja
Justiitsministeeriumi loata, Kaiti 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile
kuuluv administratiivhoone ning rikuti demonteerimise teel sellesse paigaldatud vee-,
sooja,- ja elektrivarustuse seadmed koguvddrtusega 54 300 krooni, tekitades Eesti
Vabariigile varalist kahju kogusummas 54 300 krooni;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Kiiti 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile
kuulunud ja muinsuskaitse all oleva vesilennukite angaar, eemaldades sealt kupli avade
luugid koguvdartusega 20000 krooni ning tekitades Eesti Vabariigile varalist kahju
kogusummas 20 000 krooni.

Ulalkirjeldatud tegevusega tekitas Olga Kotova, tegutsedes iihiselt ja koosk@lastatult Aleksandr
Rotkoga, Eesti Vabariigile varalist kahju kogusummas 2 055 996,60 krooni (ehk 131 402,13
eurot).

Seega pani Olga Kotova toime vodra asja rikkumise ja havitamise, millega on asja
omanikule Eesti Vabariigile tekitatud vahemalt oluline varaline kahju, s.o KarS § 203 jargi
kvalifitseeritava kuriteo.

Alates 01.01.2015 on Olga Kotova tegevus karistatav KarS § 203 Ig 1 jargi kui védra asja
rikkumine ja havitamine, kui sellega on tekitatud oluline kahju.

Peale selle, kahtlustatakse Olga Kotova’t KarS § 201 lg 2 p 2, 4 jargi (alates 01.01.2015 KarS
201 lg 2 p 2, 4 jargi) kvalifitseeritava kuriteo toimepanemises, mis seisnes alljargnevas.

Olga Kotova oli OU Agrin Partion (ariregistri kood 10259785; registrist kustutatud 3 1.07.2013),
AS Verest (driregistri kood 10381687, registrist kustutatud 13.09.2010) ja AS BPV (&riregistri
kood 10379236, registrist kustutatud 01.07.2011), juhatuse liige ning Ela Tolli AS (ariregistri
kood 10712954, registrist kustutatud 21.03.2016) ndukogu liige. Aleksandr Rotko oli AS Verest
(kustutatud), AS BPV (kustutatud) néukogu llige ja Ela Tolli AS (kustutatud) juhatuse liige.
Lisaks oli Aleksandr Rotko OU Ella Kaubanduse (&riregistri kood 10448316, registrist
kustutatud 14.08.2012) juhatuse ainuliige ja ainuosanik, milline ettevote oli omakorda Olga

Kotova juhitud OU Agrin Partion (kustutatud) ainuosanik.

Olga Kotova, tegutsedes uhiselt ja kooskélastatult Aleksandr Rotko’ga, ajavahemiku! alates
5000.a aastast kuni 01.08.2006 teostas ebaseaduslikku valdust Eesti Vabariigile kuuluval
territooriumil Kiiti 17 ja 17a Tallinn.

Saanud teada, et Eesti Vabariik soovib kehtestada oma valdust eelnimetatud endale kuuluva
territooriumi ja territooriumi juurde kuuluvate ehitiste ja rajatiste suhtes, otsustasid Olga Kotova
ning Aleksandr Rotko demonteerida voimalikult rohkem vara territooriumil paiknevatelt
objektidelt ning miliia see maha, pddrates miiiigist saadud raha enda kontrolli all oleva AS BPV
(kustutatud) ning aritihingu Merimpex Co. Ltd kasuks. Nimelt:

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Tallinn, Kiiti 17 ja 17a oleval
kinnistul asuvalt sadamakailt ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Aleksandr Rotko ja Olga Kotova korraldusel sadamakai
olulised osad — teekatteplaadid suuruses 0,14x2,00x6,00 kokku 460 tk, katteplaadid
suuruses 0,13x1,23x1,6 kokku 164 tk ning katteplaadid suuruses 0,13x1,23x0,94 kokku

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35 tk, tekitades Eesti Vabariigile varalist kahju plaatide maksumuse ulatuses, S.0
1 755 096,60 krooni suuruses summas,

ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Tallinn, Kiti 17 ja 17a asuvalt
kinnistult ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi esindaja Justiitsministeeriumi
loata, Aleksandr Rotko ja Olga Kotova korraldusel kinnistu territooriumi varavad ja
[dhuti need, tekitades Eesti Vabariigile varalist kahju kogusummas 33 040 krooni;

- ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Ktiti 17 ja 17a, Tallinn asuvalt territooriumilt Eesti
Vabariigile kuuluva kinnistu olulise osa — raudteerdépad kogukaaluga 66,6 tonni ning
koguvaartusega 156 060 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas
156 060 krooni;

- ajavahemikul 07.06.2006. kuni 01.08.2006.a kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Ktiti 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile
kuulunud katlamaja hoone ning eemaldati sealt demonteerimise teel kilittekatlad
viartusega 12 500 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas 12 500

krooni;

e - ajavahemikul 07.06.2006.a kuni 01 08.2006. kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi  esindaja
Justiitsministeeriumi loata, Kiti 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile
kuuluv puidutédstushoone ning eemaldati sealt demonteerimise teel kiittekatlad
vaairtusega 25 000 krooni, tekitades Eesti Vabariigile varalist kahju kogusummas 25 000
krooni;

~ ajavahemikul 07.06.2006.a kuni 01 08.2006,a kahjustati Aleksandr Rotko ja Olga Kotova
korraldusel ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, Kiiti 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile
kuuluv administratiivhoone ning rikuti demonteerimise teel sellesse paigaldatud vee-,
sooja,- ja elektrivarustuse seadmed koguvdartusega 54300 krooni, tekitades Eesti
Vabariigile varalist kahju kogusummas 54 300 krooni;

- ajavahemikul 07.06.2006.a kuni 01.08 2006.a kahjustati Aleksandr Rotko ja Olga Kotova
korralduse! ebaseaduslikult, s.t ilma omaniku Eesti Vabariigi  esindaja
Justiitsministeeriumi loata, Kati 17 ja 17a, Tallinn territooriumil asuv Eesti Vabariigile

S kuulunud ja muinsuskaitse all oleva vesilennukite angaar, eemaldades sealt kupli avade

luugid koguvaértusega 20000 krooni ning tekitades Eesti Vabariigile varalist kahju

kogusummas 20 000 krooni.

Seejirel miitisid Olga Kotova ja Aleksandr Rotko enamuse Tallinnas, Kiiti 17 ja 17a oleval
kinnistul asuvalt sadamakailt ebaseaduslikult demonteeritud ja endiselt Eesti Vabariigile
kuulunud teekatteplaate Paldiski Sadamate AS-le /8.juuli 2006.a lepingu alusel, mis sdlmiti AS
BPV (kustutatud), keda esindas juhatuse lige Olga Kotova, ja Paldiski Sadamate AS, keda
esindas juhatuse liige Aleksandr Kovaljov, vahel. AS BPV (kustutatud) juhatuse liikme Olga
Kotova isikus esitas Paldiski Sadamate AS-le arve nr 292 summas 2 528 727,20 krooni ning
selgitusega ,, Ehitusmaterjalid ja tehnika‘*. Vastavalt Olga Kotova 25.08.2006.a avaldusele tasus
Paldiski Sadamate AS 06.09.2006.a arve nr 292 alusel Olga Kotova ja Aleksandr Rotko kontrolli
all oleva arithingu Merimpex Co. Ltd arvelduskontole 2 142 989,15 krooni, samuti tasus
385 738,05 krooni AS BPV (kustutatud) arvelduskontole Swedbank AS-s. Sellega pédrasid Olga
Kotova ja Aleksandr Rotko ebaseaduslikult nende valduses olevad védrad vallasasjad kolmanda
* isiku kasuks, saades tulu summas 2 914 465,25 krooni ehk 186 268,27 eurot.

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Samuti mijtisid Olga Kotova ja Aleksandr Rotko AS BPV (kustutatud) nimelt Tallinnas, Kuti 17
ja 17a oleval kinnistul asuvalt sadamakailt ebaseaduslikult demonteeritud ja endiselt Eesti
Vabariigile kuulunud raudteer$épad peamiselt AS-le Kuusakoski. Raudteerddébaste ja nende
kinnitustarvikute miliigist lackus AS-le BPV (kustutatud) tema poolt AS-le Kuusakoski esitatud
28.07.2006.a arve nr 0120846 alusel tulu summas 201 758,76 krooni ning 26.07.2006.a arve nr
0118134 alusel tulu summas 504 660,04 krooni. Sellega pSérasid Olga Kotova ja Aleksandr
Rotko ebaseaduslikult nende valduses olevad védrad vallasasjad kolmanda isiku kasuks, saades
tulu kogusummas 706 418,80 krooni ehk 45 148,39 eurot.

Samuti mlfisid Olga Kotova ja Aleksandr Rotko AS BPV (kustutatud) nimelt Tallinnas, Kati 17
ja 17a oleval kinnistul asuvatelt objektidelt ebaseaduslikult demonteeritud ja endiselt Eesti
Vabariigile kuulunud ehitiste ja rajatiste olulised osad vanametallina peamiselt AS-le Refonda.
Demonteeritud ehitiste ja rajatiste oluliste osade miitigist lackus AS-le BPV (kustutatud) tema
poolt AS-le Refonda esitatud 14.07,2006.a arve nr 256 alusel tulu summas 11 979,36 krooni,
05.07.2006.a arve nr 241 alusel tulu summas 14 917,85 krooni, 06.07.2006. arve nr 243 alusel
tulu summas 15 972 krooni. Sellega p&drasid Olga Kotova ja Aleksandr Rotko ebaseaduslikult
nende valduses olevad vG6rad vallasasjad kolmanda isiku kasuks, saades tulu summas 42 862, 21
krooni ehk 2 739,39 eurot.

Ulalkirjeldatud tegevusega tekitasid Olga Kotova Ja Aleksandr Rotko Eesti Vabariigile varalist
kahju kogusummas 234 156,05 eurot.

Seega pani Olga Kotova toime valduses oleva védra vallasasja vi isikule usaldatud muu
vééra vara ebaseaduslikult kolmanda isiku kasuks pééramise grupi poolt ja suures
ulatuses, s.0 KarS § 201 Ig 2 p 2 ja 4 jargi kvalifitseeritava kuriteo.

Alates 01.01.2015 on Olga Kotova tegevus karistatav KarS § 201 lg 2 p 2, 4 jargi kui
valduses oleva vodra vallasasja véi isikule usaldatud muu vddra vara ebaseaduslikult
kolmanda isiku kasuks pédramine grupi poolt ja suures ulatuses.

Utlused:

Kiisimus: Kas Te olete toime pannud kuriteo, milles Teid kahtlustatakse?

Vastus: Ei ole kuritegu toime pannud. Ma asusin lennusadamasse tédle silgisel 2001, minu
tééandjaks oli AS BPV, mina tédtasin seal sekretérina. Kui mina laksin lennusadamasse tédle,
siis olid juba ettevétted, mis kahtlustuses nimetatud on, seal tegutsenud, Arvatavasti 2002 aasta
alguses ktisis Aleksandr Rotko minult ja raamatupidajalt Tatjana Jekimova'lt luba kanda meie
nimed juhatuse liikmetena 4riregistrisse. Et just oli eelmine juhatuse liige lahkunud, siis Rotko
selgitas, keegi peab juhatuse liige olema ja minul sellest mingeid probleeme ei teki. Ma ei oska
hetkel tapsustada nende ettevdtete nimesid, milel juhatuse liikemks mind mddrati. Samuti ei
méleta ma mitme firma juhatuse liikmeks olemisest jutt kais. Aleksandr Rotko iitles, et nii tuleb
teha ja me ei olnud sellele vastu. Me pidime jaime tditma oma seniseid kohuseid, mina
sekretérina ja Tatjana Jekimova raamatupidajana. See tahendab, et minul polnud alluvaid, ma ei
andnud kellelegi korraldusi. Minu funktsioon ettevttes ei muutunud. Mulle meenub, et ka Anti
N6édp oli kusagil Rotko ettevéttes juhatuse liige. Me téétasime tavapdraselt edasi, Kui Rotko
palus allkirjastada ettevotte bilanssi, siis ma allkirjastasin selle. Vahel, kui teda polnud kontoris,
palus ta, et ma allkirjastaksin mGne arve. Ma tegin seda. 2006 suvel pidi ettevéte lennusadamast
valja kolima. Ma miletan, et tuli korraldus valjakolimiseks, aga kuidas voi millise dokumendiga
ja millal tapselt see korraldus.tuli, ma ei maleta. Aleksandr Rotko palus mul koostada nimekiri
kogu mé6blist ja kantseleikaubast, mis ettevétte kontoris asus. Ma tegin selle valmis. Samuti
palus ta pakkida kogu dokumentatsiooni, mis ettevdtete kontoris Lennusadamas oli. Siis ithel
tic péeval kolisin ma valja. Ma ei maleta, mis paeval see oli ja kuidas see toimus. Mina ei vétnud

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sealt midagi kaasa, Minu kontori aknad ei olnud Lennusadamas illdse territooriumi poole ja mina
ei ndinud, mis territooriumil toimus. Tahan siinkohal tapsustada, et mina liikusin lennusadama
territooriumil iildse vaga vahe, mGnel korral sest kontsadega oli seal véimatu kéndida. Ma
teadsin, et ettevdtted kolivad Lennusadam territooriumilt valja ja viivad kaasa neile kuuluvat
vara. Seda teadsid kdik, kes ettevitetes tédtasid, et viiakse ara vara, mis kuulus neile.
Lennusadama kontoris téétasid peale minu Olga Novoseltseva, Tatjana Jekimova, Olga
Savitskaja, Anti Néép ja Aleksandr Rotko. Mina peale valjakolimist enam Lennusadamasse ei
lainud. 20.09.2006 abiellusin Aleksandr Rotko’ga. Temal oli Ameerika Uhendriikide alaline
elamisluba. Et Aleksandr Rotko’'t ei sidunud Eestiga enam midagi, otsustasime me kolida USA-
sse. Tema sditis Eestist ara arvatavasti oktoobris 2006, mina ootasin, et mulle antaks Ameerika
Uhendriikide viisa. Vahepeal oli Aleksandr Rotko saanud teada, et USA viisaga véib minna mitu
aastat, siis otsustasime, et mina sdidan Kanadasse ja hakkan seal inglise keelt 6ppima. Mina
sditsin Eestist ara detsembris 2006, Esialgu sditsin Venemaale sugulaste juurde, sealt sditsin
Kanadasse Niagara KolledZisse. Ma ei teadnud, et mind Eestis otsitakse, Ma ei maleta, et oleksin
suhelnud peale Eestist drasditu mone kolleegiga Lennusadamast.

Kisimus;: Milline seos oli Teil ettevéttega OU Agrin Partion?

Vastus: Ettevétet tean. Arvatavasti oli see tiks ettevéte, mille juhatuse liikmeks mul Aleksandr
Rotko palus olla.

Kiisimus: Kus, millises tegevusvaldkonnas ja millega konkreetselt tegutses OU Agrin Partion?
Vastus: Ma ei tea, millega ettevote tegeles.

Kiisimus: Kes juhtis OU-t Agrin Partion reaalselt?

Vastus: Mina tean, et kdiki ettevétteid, mis lennusadama kontoris asusid, juhtis Aleksandr
Rotko.

Kiisimus: Milline seos oli Teil ettevéttega AS Verest?

Vastus. Ka sellest ettevottest tean niipalju, et Aleksandr Rotko palus mul olla ettevotte juhatuse
liikmeks.

Kilsimus: Kus, millises tegevusvaldkonnas ja millega konkreetselt tegutses AS Verest?

Vastus: Seda ei oska Gelda.

Kiisimus: Kes juhtis AS-i Verest reaalselt?

Vastus: Aleksandr Rotko.

Kiisimus: Milline seos oli Teil ettevéttega AS BPV?

Vastus: Kui ma digesti maletan, siis AS-ist BPV sain ma palka.

Kiisimus: Kelle soovituse] saite AS BPV juhatuse liikmeks?

Vastus: Rotko palus.

Kitsimus: Kus, millises tegevusvaldkonnas ja millega konkreetselt tegutses AS BPV?

Vastus; Ma tean, et tegeles puidu itimbertéétlemisega lennusadama territooriumil.

Ktisimus: Kes juhtis AS-i BP’V reaalselt?

Vastus: Aleksandr Rotko.

Kiisimus: Milline seos oli Teil ettevéttega Ela Tolli AS?

Vastus: Sellega oli sama lugu, naga ma olen juba raakinud.

Kilsimus: Kelle soovitusel saite Ela Tolli AS néukogu liikmeks?

Vastus: Ma ei tea ise, et oleksin olnud néukogu liige, miletan et mulle raagiti juhatuse liikme
staatusest.

Kiisimus: Kus, millises tegevusvaldkonnas ja millega konkreetselt tegutses Ela Tolli AS?

Vastus: Ei tea.

Kiisimus: Kes juhtis Ela Tolli AS-i reaalselt?

Vastus: Arvatavasti Rotko.

Kiisimus: Kuidas olite seotud aadressidega Kiiti 17 ja Kitti 17a Tallinnas aastal 2006?

Vastus: See oli Lennusadama territoorium, kus asusid ettevétted, mis kahtlustuses on valja
toodud.

Kiisimus: Kas, kuidas ja millal saite teada, et Eesti Vabariik soovib kehtestada valdust Kiiti 17 ja
KGti 17a Tallinn territooriumile ja territooriumi juurde kuuluvate ehitiste ja rajatiste suhtes?
Vastus: Ma ei maleta tapselt, millal ja kuidas see toimus, kdik teadsid seda. Seal véis olla juttu

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valjakolimiseks antud tahtajast.

Kiisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Tallinn, Kati 17 ja 17a oleval
kinnistul asuvalt sadamakailt teekatteplaadid suuruses 0,14x2,00x6,00 kokku 460 tk,
katteplaadid suuruses 0,13x1,23x1,6 kokku 164 tk ning katteplaadid suuruses 0,13x1,23x0,94
kokku 35 tk. Kelle korraldusel toimus eemaldamine, kes eemaldas, kuhu paigutati, millise
ettevétte nimelt ja kellele mijiidi ning millise hinna eest?

Vastus: Mina ei tea, kuidas eemaldamine toimus, kes eemaldas, kuhu paigutati, millise ettevdtte
nimelt ja kellele miitidi ning millise hinna eest. Mina tean Selda, seda et mina ei ole korraldusi
ane eemaldamiseks andnud. Samuti ei oska ma delda, kas ja millisest ajast teekatteplaadid seal
ildse olid.

Kisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006. eemaldati Tallinn, Kiiti 17 ja 17a
asuvalt kinnistult kinnistu territooriumi viravad ja léhuti need. Kelle korraldusel toimus
eemaldamine, kes eemaldas, kuhu paigutati, millise ettevotte nimelt ja kellele miiiidi ning millise
hinna eest?

Vastus: Ma ei tea sellest midagi. Tean delda, seda et mina ei ole korraldusi nende eemaldamiseks
andnud.

Kiisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a eemaldati Kiiti 17 ja 17a, Tallinn
asuvalt territooriumilt Eesti Vabariigile kuuluva kinnistu oluline osa - raudteeréépad
kogukaaluga 66,6 tonni. Kelle korraldusel toimus eemaldamine, kes eemaldas, kuhu paigutati,
millise ettevdtte nimelt ja kellele miliidi ning millise hinna eest?

Vastus: Mina ei tea, kuidas eemaldamine toimus, kes eemaldas, kuhu paigutati, millise ettevotte
nimelt ja kellele miiiidi ning millise hinna eest. Mina tean Gelda, seda et mina ei ole korraldusi
nende eemaldamiseks andnud. Samuti ei oska ma éelda, kas ja millisest ajast raudteerSdpad seal
tildse olid.

Kiisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Kiiti 17 ja 17a, Tallinn
territooriumil asuvat Eesti Vabariigile kuulunud katlamaja hoonet ning eemaldati sealt
demonteerimise tee] kiittekatlad. Kelle korraldusel toimus kahjustamine ja katelde
demonteerimine, kes kahjustas, kes demonteeris, kuhu paigutati, kas, millise ettev6tte nimelt ja
kellele mitiidi ning millise hinna eest?

Vastus: Ma ei tea nedest midagi. Tean ainult, et ajal, mil mina lennusadamasse tédle laksin, ei
olnud lennusadamas kiitet, aga mingist hetkest hakati kiitma.

Kusimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Kiiti 17 ja 17a, Tallinn
territooriumi] asuvat Eesti Vabariigile kuuluvat puidutédstushoonet ning eemaldati sealt
demonteerimise teel kiittekatlad. Kelle korraldusel toimus kahjustamine ja katelde
demonteerimine, kes kahjustas, kes demonteeris, kuhu paigutati, kas, millise ettevotte nimelt ja
kellele miitidi ning millise hinna eest?

Vastus: Ei oska midagi delda.

Kiisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Kiiti 17 ja 17a, Tallinn
territooriumil asuvat Eesti Vabariigile kuuluvat administratiivhoonet ning rikuti demonteerimise
teel sellesse paigaldatud vee-, sooja,- ja elektrivarustuse seadmed. Kelle korraldusel toimus
kahjustamine ja katelde demonteerimine, kes kahjustas, kes demonteeris, kuhu paigutati, kas,
millise ettevotte nimelt ja kellele miitidi ning millise hinna eest?

Vastus: Ma ei oska sellest raakida. Kui mina lahkusin lennusadamast, oli seal soe, oli valgus ja
vesi.

Kiisimus: Ajavahemikul 07.06.2006.a kuni 01.08.2006.a kahjustati Kiiti 17 ja 17a, Tallinn
territooriumil asuvat Eesti Vabariigile kuulunud ja muinsuskaitse all olevat vesilennukite
angaari, eemaldades sealt kupli avade luugid. Kelle korraldusel toimus eemaldamine, kes
eemaldas, kuhu paigutati, kas, millise ettevGtte nimelt ja kellele miiiidi ning millise hinna eest?
Vastus: Ma ei tea sellest midagi.

Kiisimus: BPV AS ja AS Kuusakoski vormistasid musta ja varvilise metalli, vanametalli ja
metallijaatmete tileandmise-vastuv6tmise akti nr 0118134 (26.07.2006), teie kirjutasite milija
BPV AS-i poole pealt alla. Mida miitisite, millistel pohjuste] mittisite ja kust pérines miiiidav
vara?

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Vastus: Ma eelnevalt iitlesin ka, et kui Rotko’d polnud kontoris ja kui ta oli mul palunud midagi
allkirjastada, tegin ma seda. Ma ei kontrollinud pabereid, mida allkirjastasin, sest mul polnud
pOhjust ettevOtet mitte usaldada. Ma teadsin ainult seda, et ettevOtted peavad lennusadamast
valja kolima ja miitivad oma vara.

Kisimus: BPV AS ja AS Kuusakoski vormistasid musta ja varvilise metalli, vanametalli ja
metallijaatmete Dleandmise-vastuvotmise akti nr 0120846 (28.07.2006), teie kirjutasite miliija
BPV AS-i poole pealt alla. Mida miliisite, millistel pdhjustel miiiisite ja kust parines miitidav
vara?

Vastus: Ma eelnevalt titlesin ka, et kui Rotko’d polnud kontoris ja kui ta oli mul palunud midagi
allkirjastada, tegin ma seda. Ma ei kontrollinud pabereid, mida allkirjastasin, sest mul polnud
pohjust ettev6tet mitte usaldada. Ma teadsin ainull seda, et ettevOtted peavad lennusadamast
valja kolima ja mtitivad oma vara.

Kiisimus: Allkirjastasite BPV AS nimelt 05.07.2006 arve nr 241 Refonda OU-le vanametalli
miltigi kohta. Mida BPV AS milils Refonda OU-le, millistel pohjustel militsite ja kust parines
miiiiday vara?

Vastus: Ma eelnevalt iitlesin ka, et kui Rotko‘d polnud kontoris ja kui ta oli mul palunud midagi
allkirjastada, tegin ma seda. Ma ei kontrollinud pabereid, mida allkirjastasin, sest mul polnud
pohjust ettevGtet mitte usaldada. Ma teadsin ainult seda, et ettevétted peavad lennusadamast
Vilja kolima ja miiiivad oma vara.

Kiisimus: Allkirjastasite BPV AS nimelt 06.07.2006 arve nr 243 Refonda OU-le vanametalli
miltigi kohta. Mida BPV AS miiiis Refonda OU-le, millistel pdhjustel miitisite ja kust pérines
miiiidav vara?

Vastus: Sama jutt, nagu eelmistele vastustele. Ma ei olnud teadlik, mis vara tapselt milildi.
Kisimus: Allkirjastasite BPV AS nimelt 14.07.2006 arve nr 256 Refonda OU-le vanametalli
miiigi kohta. Mida BPV AS mitiis Refonda OU-le, millistel pdhjuste! mijisite ja kust parines
miltidav vara?

Vastus: Sama jutt, nagu eelmistele vastustele. Ma ei olnud teadlik, mis vara tapselt mitidi.
Kiisimus: Sélmisiste AS BPV nimelt Paldiski Sadamate AS-iga mililgileping nr 1 (18.07.2006),
millega mittisite Paldiski Sadamate AS-ile AS BPV omanduses olevad ehitusmaterjalid ja
tehnika, Millistel pdhjustel BPV AS miliis vara Paldiski Sadamate AS-ile?

Vastus: Rotko palus mul dokumendi allkirjastada, ma teadsin, et firmad miitivad nendele
kuuluvat vara.

Kisimus: Olete allkirjastanud avalduse Paldiski Sadamate AS-ile, millega palute tasuda arve
Merimpex Co.Ltd arveldusarvele Nordea Bank Danmark AS-is. Millistel pohjustel palusite teha
tilekanne AS-ile BPV kuuluva vara eest Merimpex Co.Ltd-le?

Vastus: Tegin seda Rotko palvel. Ma ise ei tea Merimpex Co.Ltd-st mitte midagi.

Kilsimus; Milline seos oli Teil ettevéttega Merimpex Co.Ltd?

Vastus: Minul puudub seos selle ettevottega.

Kiisimus: Millistel péhjustel kasutas Aleksandr Rotko aastal 2006 AS Eesti Post nimekasti nr
1525, mis asus Kalamaja postkontoris?

Vastus: Ma ei oska sellele vastata. Mina ei tea, miks Rotko’l nimekasti tarvis oli, Mina seda
kasutanud ei ole.

Kisimus: Kellele kuulus séiduauto Acura Trooper SLX reg numbriga 61ZGB?

Vastus: See oli Rotko auto. Tema palus minul auto kirjutada Olga Novoseltseva nimele. Ma ei
tea, miks Rotko palus mul sdiduki Olga nimele kirjutada. Mina ainult vormistasin Rotko palvel
auto Olga nimele ja rohkem ei tea mina sellest autost midagi.

Kiusimus: Kas, millisel viisil ja millise summa tasus sdiduauto eest Olga Novoseltseva?

Vastus: Minu ja Olga vahel kiill raha ei liikunud.

Kiisimus: Kas ja millistel péhjustel suhtlesite Olga Novoseltseva’ga peale Eesti Vabariigist
lahkumist?

Vastus: Ma ei mileta, et oleks temaga suhelnud.

Kiisimus. Kellele kuulus mirtsis 2007 e-posti aadress amal-221@yandex.ru?

Vastus: Mina ei tea midagi sellest aadressist.

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Kiisimus: Kus viibib Aleksandr Rotko kiesoleval ajal?
Vastus: Ma ei tea, kus ta viibib praegusel hetkel. Me lahutasime aastal 2012, Teda négingi
@ viimati New Yorkis 2012. Samuti ei ole ma temaga sellest alates suhelnud,
Prokurdri kitsimus: Millistel kaalutlustel andsite ndusoleku juhatuse liikmeks asumiseks?
Vastus: Rotko palvel.
Prokuréri kiisimus: Milline haridus oli Teil 2001?
Vastus: Kesk-eri. Ma ldpetasin Tallinna Majanduskooli, arijuhtimise erialal, l6petasin keskmise
tasemega.
Prokuréri ktisimus: Millised oli Teie eelmised tédkohad, enne lennusadamasse asumist?
Vastus: Téétasin umbes aasta kassiirina MC Donaldsis, umbes aasta jagu mijiijana médéblifirmas
A&A, paar kuud sekretdrina thes vaikeses raamatupidamisfirmas. Ma ei maleta, kes juhtis
raamatupidamisfirmat.
Prokuréri kiisimus: Millistel asjaoludel ja kuidas sattusite todle lennusadamasse?
Vastus; Kuulutuse kaudu. Ma ei miileta, kus kuulutus ilmus.
Prokuréri kiisimus: Millal tapselt ja kuidas lahkusite Eestist?
Vastus: Detsmebris 2006 laksin Peterburisse, seal olin kuni 2007 alguseni, misjirel sditsin
Kanadasse.
Prokuréri kisimus: Millega tegelesite Venemaal?
Vastus: Millegagi ei tegelenud, peatusin sugulaste juures. Plaane Venemaal millegagi tegeleda,
sy mul ei olnud.
Prokuréri kiisimus; Millistest vahenditest elasite Venemaal?
Vastus: Ma olin sugulastel kiilas.
Prokurdri kiisimus: Kes finantseeris Kanada piletite ostu?
Vastus: Ei méleta.
Prokuréri ktisimus: Milline oli teie suhe Olga Savitskaja’ga?
Vastus: Normaalsed suhted.
Prokurdri kiisimus: Millal viimati suhtlesite Olga Savitskaja’ ga?
Vastus: Ei mileta,
Prokuréri kiisimus: Mis ametikohti tditsid isikud Lennusadama kontoris?
Vastus: Olga Novoseltseva oli raamatupidaja, Tatjana Jekimova oli raamatupidaja. Anti Nédp
sadama kapten. Olga Savitskaja ametinimetust ma tapselt ei miileta, kuid ta tegeles puidu
timbertéétlemisega seotud dokumetatsiooniga.
Prokurdri kiisimus: Kes eelnimetatud isikutest ja kui hasti valdas eesti keelt?
Vastus: Anti Nédp valdas eesti keelt vabalt. Mina valdasin hasti, Teiste kohta ei oska delda, sest
mina nendega eesti keeles ei suhelnud. Rotko'ga mina samuti eesti keeles ei suhelnud.
ze Prokuréri kiisimus: Kuidas olete Teie dppinud eesti keelt?
Vastus: Kuni 13-nda eluaastani kasvatas mind vd6rasisa, tema oli eestlane. Sealt ma oskangi
eesti keelt. Emaga raakisin vene keeles. Poolvennaga raakisin nii eesti kui vene keeles.
Prokuréri kiisimus: Kes koostas lennusadamas eestikeelsed dokumendid?
Vastus: Mingi osa dokumente koostasin mina, mingi osa juristid, méned dokumendid koostasid
raamatupidajad ja Olga.
Prokurdri kiisimus: Millega tegelesite Kanadas?
Vastus: Algul umbes 2,5 aastat ppisin. Siis asusin todle, olin erinevates firmades abitédline.
Prokuréri kiisimus: Kes finantseeris Teie elu Kanadas?
Vastus: Ma tédtasin Kanadas kogu aeg, ka dpingute ajal. Ma sain ka stipendiumi. Ise
finantseerisin,
Prokurdri kiisimus: Mida Te teate Aleksandr Rotko elust enne Lennusadamat?
Vastus: Ma tean, et ta oli laevakapten. Tean, et ta siindis Ukrainas. Ma ei tea, millal ta Eestisse
sattus.
Prokurori kiisimus: Kas olete kuulnud, et Aleksandr Rotko oleks kellegagi suhelnud eesti keeles?
Vastus: Ma ei mileta.
Prokurdri kiisimus: Kas Teile on teada, kas Aleksandr Rotko valdas eesti keelt?
@ Vastus: Mulle ei ole see teada, sest mina temaga eesti keeles ei suhelnud.

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Olga Kotova'le esitatakse AS Verest nimel vormistatud volikiri 09.12.2002 nr 3-131,

Prokuréri kiisimus: Millega seoses andsite Aleksandr Rotko nimele valja volitused, mille hulgast

& tiks on AS Verest nimel valja antud 09.12.2002 nr 3-131?
Vastus: Aleksandr Rotko nimel oli tegelikult iildvolitus kdikide firmade poolt. Ma ei tea, milleks
selline konkreetne volitus oli valja antud. Ma ei mileta, kas ma ise selle dokumendi koostasin,
voi andsin ainult allkirja dokumendile.
Prokuréri kiisimus: Kas ja mida tapselt Te teadsite kdigi kahtlustuses valja toodud ettevétete
tsiviilprotsessidest, mis toimusid enne, kui Te Eestist lahkusite?
Vastus: K6ik teadsin, et midagi toimub. Ka mina teadsin. Ettevotteid esindasid kohtus juristid.
Juristide nimesid ma ei méleta. Ma ei tea, kes ettevtete nimel juristidega suhtles. Mina nendega
ettevitete nimel ei suhelnud.
ProkurGri ktisimus: Kus viibis Aleksandr Rotko 2007 aasta viltel?
Vastus: Minu andmetel USA-s.
Prokur6ri kitsimus: Mitmel korral kohtusite Aleksandr Rotko‘ga 2007 aasta valtel ja kus?
Vastus: Ta kiilastass mind Kanadas umbes kord kahe kuu jooksul. Algul Welland’‘isse, hiljem
Saint-Chatharine’sse, Nendes linnades olid minu elukohad.
Kaitsja kiisimus: Milline nagi valja Teie kooselu Rotko’ga Ameerikas?
Vastus: 2011 sain Ameerika Uhendriikide viisa ja kolisin Kanadast Ameerikasse. Septembris
2011 andsime avaldused abielu lahutamiseks.

& Prokurdri kisimus: Perioodil 2001-2006 elasite Tallinnas. Kus tiipselt?
Vastus: Alguses oli iiiirikorter Lasnaméel, ténavat ei méleta. Hiljem kolisin Koplisse,
miletatavasti oli tinava nimi Puuvilla. Ka seal iitirisin korterit.
Prokuréri kiisimus: Kas Teil eelnimetatud elukohtades televiisor oli?
Vastus: Ma ei mileta, kas seal olid televiisorid, toendoliselt olid. Kuid ma vaatan viga vahe
televiisorit.
Prokuréri kiisimus: Millistel asjaoludel ja millal vormistas Aleksandr Rotko Acura Trooper SLX
reg numbriga 61ZGB teie nimele?
Vastus: Siigisel 2006 teatas Rotko, et kirjutab auto minu nimele. Enne seda oli auto kuulunud
kellelegi kolmandale, kelle nime ma ei mileta. Ta kirjutas auto minu nimele ajutiselt, rohkemat
ei selgitanud.
Prokur6ri kfisimus: Millistel pohjustel vormistasite auto Olga Novoseltseva nimele?
Vastus: Ma ei tea muud kui, et auto oli Rotko oma ja tema soovis, et meie kirjutaksime auto
Novoseltseva nimele.
Prokuréri kiisimus: Kas Teil load olid?
Vastus: Olid.

Fohly Kaitsja kiisimus: Kas ise kasutasite autot Acura Trooper SLX reg numbriga 61ZGB?
Vastus: Bi kasutanud. Mul olid kill load olemas, kuid ma ei sditnud ise autoga.
Prokur6ri kilsimus: Kes tegeles kahtlustuses nimetatud ettevotetes rahade liikumisega pankades?
Vastus: Raamatupidajad, nimeliselt ei oska tapsustada, kas molemad raamatupidajad véi tiks
neist. Mina sellega ei tegelenud.
Prokuréri kiisimus: Kes andis raamatupidajatele volitused pangakontode kasutamiseks?
Vastus: Mina seda teinud ei ole. Peab ktisima ettevétte juhataja Rotko kiest. Lisan, et mina ei ole
kunagi kdinud pangas kahtlustuses nimetatud ettevétete asju ajamas.
Prokuréri kiisimus: Vastavalt rahvastikuregistri andmetele on Teil seniajani olemas Eesti
kodakondsus. Kas Te teavitasite Eesti Vabariiki Ameerika Whendriikide kodakondsuse
saamisest? Ja kui teavitasite, siis kuidas ja millal tapselt?
Vastus: Soomes, kui ma oli kinni peetud, saatsin kirja Eesti Vabariigi saatkonda véi konsulaati
(ma tapselt ei maleta), milles taotlesin Eesti kodakondsusest loobumist. Vastust ei ole saanud.
Prokuréri kiisimus: Millised Eesti Vabariigi dokumendid Teil olid?
Vastus: Mul oli EV pass, aga see on aegunud, Ma sditsin Eestist ara 10 aastat tagasi, ma ei
maleta, kas mul oli isikutunnistus.

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& Protokolli lisad: ei ole.

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Unurimistoimingus osalejaile (valja arvatud ree ja siitidistatavale) on selgitatud, et
vastavalt KrMS §-le 214 vdib kohtueelse menetluse andmeid avaldada iiksnes prokuratuuri loal
ja tema maaratud ulatuses.

Kaitsja on kohustatud hoidma saladuses talle kriminaalmenetluse kiigus digusabi andmisel
teatavaks saanud andmeid. Kaitsjal on Jubatud kriminaalmenetluse kaigus Sigusabi andmisel
teatavaks saanud andmeid avaldada kaitsealusele. Kaitsealuse kohta kaivaid menetluse andmeid
voib kaitsja avaldada vaid kaitsealuse ndusolekul ning kui seda n6uavad digusemGistmise huvid.

Uurimistoimingu l6pp: 13.10

Siret Ratsepp Hest

 

Olga Kotova
Janek Valdma
se Andrei Voronin aia Rey pos
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Police and Border Guard Board

SUSPECT INTERROGATION RECORD
in the criminal matter No. 06730000427

06.10.2016 Tallinn

Beginning of the investigation activities: 10,05

Police Lieutenant Siret Ratsep, General Crimes Service, Divison of Severe Crimes, Criminal Bureau of
North Prefecture, guided by §§ 34, 75, 76 and 146 of the Code of Criminal Procedure, interrogated
the suspect:

Name: Olga Kotova

Personal ID code or date of birth: 28.11.1977 (id 47711285211)

Marital status: divorced

Nationality: | United States of America

Education: Higher

Mother tongue russian

Place of residence or location and address: 148 South Arabella way Saint Johns, USA
Work or institution of education: not working

Contacts: tel 9048145452, olganewaddress@hotmail.com

Identified: United States Passport No 547393916

§ 34 of the CCP Rights and obligations of the suspect

A suspect has the right

know the content of the suspicion and give or refuse to give testimony with regard thereto;

°

know that his testimony may be used In order to bring charges against him;

the assistance of a counsel;

° the assistance of an interpreter or translator;

    
 

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the original text in Estonian.

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. be interrogated and participate in confrontation, comparison of testimony to circumstances
and presentation for identification In the presence of a counsel;

participate in the hearing of an application for an arrest warrant in court;

submit evidence;

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submit requests and complaints;

* examine the minutes of procedural acts and give statements on the conditions, course,
results and minutes of the procedural acts, whereas such statements are recorded in the minutes;

* give consent to the application of settlement proceedings, participate in the negotiations for
settlement proceedings, make proposals concerning the type and term of punishment and enter or
decline to enter into an agreement concerning settlement proceedings.

On the basis of § 75 (3') of the CCP, The suspect, and his or her counsel have the right to receive a
copy of the record of the interrogation of the suspect during the interrogation to the extent provided
for in clauses 76 (1) 1)-3) of this Code.

The suspect is obligated to appear at the Invitation of the investigative body, prosecutor's office or
court; to take part in a procedural act and to comply with the orders of the investigating authority,
the prosecutor's office, and the court.

2. The suspect has been introduced to her rights and obligations, and their content has been
explained.

(Signature of the suspect)

Ele Uutmaa, an interpreter who, according to § 161 (6) of the CCP, is obligated to translate
everything related to the procedural activities precisely and completely, and shall maintain the
confidentiality of the information which became known to him or her in the course of the translation,
Is involved in the Investigative activity She has been warned that she is responsible for the unjustified
refusal of fulfilling her duties and for knowingly false translation in accordance with §§ 318 and 321
of the Penal Code.

L (interpreter's signature)

The following persons are present at the interrogation:

   
 
  

   
 

cv

ate Janek Valdma (Law Office Valdma & Partners)

 

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jones Prost cu . Andrei Voronin (Northern District Prosecutor's Office) \
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Used equipment: not used.

Legal assessment: Olga Kotova Is suspected of committing a criminal offense under § 203 of the
Penal Code (from 01.01.2015 pursuant to § 203 (1) of the PC) as follows

Olga Kotova was a Member of the Management Board of OU Agrin Partion (Commercial Registry
code 10259785, deleted from the registry on July 31, 2013), AS Verest (Commercial Registry code
10381687, deleted from the registry on 09.09.2010) and AS BPV (Commercial Registry code
10379236, deleted from the registry on 07.01.2011), and a Member of the Supervisory Board of Ela
Tolli AS (Commercial Registry code 10712954, deleted from the registry on March 21, 2016).
Aleksandr Rotko was a Member of the Supervisory Board of AS Verest (deleted), AS BPV (deleted)
and a Member of the Management Board of Ela Tolli AS (deleted). In addition, Aleksandr Rotko was
the sole member of the Management Board and the sole shareholder of OU Ella Kaubandus
(Commercial Registry code 10448316, deleted from the registry on 14.08.2012) which company was,
in turn, the sole shareholder of OU Agrin Partion (deletion), led by Olga Kotova.

Olga Kotova, acting jointly and In concert with Aleksander Rotko, in the period of 07.06.2006 to
01.08.2006, deliberately damaged and destroyed the buildings and installations owned by the
Republic of Estonia, but in the possession of the aforementioned companies located at Kiiti 17 and
47a, Tallinn, which caused material damage to the Republic of Estonia. Namely:

During the period from 07.06.2006 to 01.08.2006, in the wharf located on the registered immovable
in Tallinn, KGti 17 and 17a, important parts of the wharf - pavement plates with the size
0.14x2.00x6.00 total 460 pcs, cover plates in the size 0.13x1.23x1.6 total 164 pcs and cover plates In
the size 0.13x1.23x0,94 in total 35 pcs - were illegally removed I.e., without the permission of the
Ministry of Justice, the representative of the owner, the Republic of Estonia, on the order of
Aleksandr Rotko and Olga Kotova, causing property damage to the Republic of Estonia to the extent
of the cost of the plates, i.e. in the amount of 1,755,096.60 kroons;

During the period from 07.06.2006 to 01.08.2006, in the registered immovable located in Tallinn, KGti
17 and 17a, gates of the territory of the registered immovable were iilegally, I.e., without the
permission of the Ministry of Justice, the representative of the owner, the Republic of Estonia, on the
order of Aleksandr Rotko and Olga Kotova, removed and destroyed, causing property damage to the
Republic of Estonia in the total amount of 33,040 kroons;

during the period from 07.06.2006 to 01.08.2006, in the registered immovable located in Tallinn, Kiiti
17 and 17a, an important part of the registered immovable belonging to the Republic of Estonia,
railway tracks with a total weight of 66.6 tons and a total value of 156,060 kroons, were sé ACT: pce
illegally without the permission of the Ministry of Justice, the representative of the o Ws Bi

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during the period from 07.06.2006 to 01,08.2006, a boiler housebuilding belonging to the Republic of
Estonia located on the territory Kiti 17 and 17a, Tallinn, was damaged illegally, on the order of
Aleksandr Rotko and Olga Kotova, without the permission of the Ministry of Justice, the
representative of the owner, the Republic of Estonia, and by way of dismantling, heating boilers with
the value of 12,500 kroons were removed, causing property damage to the Republic of Estonia
totaling 12,500 kroons;

during the period from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
i.e., without the permission of the Ministry of Justice, the representative of the owner, the Republic
of Estonia, a timber industry building belonging to the Republic of Estonia located on the territory of
Kaiti 17 and 17a, Tallinn, was illegally damaged and by way of dismantling, heating boilers with the
value of 25, O00 kroons were removed from it causing property damage to the Republic of Estonia
totaling 25,000 kroons;

during the period from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
without the permission of the Ministry of Justice, the representative of the owner, the Republic of
Estonia, an administrative building located in the territory of Kiiti 17 and 17a, Tallinn, belonging to
the Republic of Estonia was damaged and by means of a dismantling, the water, heat and power
supply equipment with a total value of 54,300 kroons were destroyed, causing a total loss in the
amount of 54,300 kroons to the Republic of Estonia;

during the period from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
without the permission of the Ministry of Justice, the representative of the owner, the Republic of
Estonia, a seaplane hangar located on Kiiti 17 and 17, Tallinn belonging to the Republic of Estonia
and protected by heritage conservation, removed from there the hatches of the dome holes witha
total value of 20,000 kroons and causing damage to the Republic of Estonia in the total amount of
20,000 kroons.

With the above-described activity, Olga Kotova, acting jointly and in concert with Aleksandr Rotko,
caused property damage to the Republic of Estonia in the total amount of 2,055,996.60 kroons (or
131,402.13 euros).

Therefore, Olga Koatova committed the violation and destruction of a foreign thing, which caused at
least material property damage to the Republic of Estonia, the owner of the thing, that is to say, a
criminal offense, which is punishable under § 203 of the Penal Code.

From 01.01.2015, the activity of Olga Kotova Is punishable under § 203 (1) of the Penal Code-gy PER ,
violation or destruction of a foreign thing if it causes significant damage. oF

  

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in addition, Olga Kotova is suspected of committing a criminal offense under Section 201 (2) (2) and
(4) of the Criminal Code (as of 01.01.2015 on the basis of Penal Code 201 (2) (2) and (4), which
consisted of the following

Olga Kotova was a Member of the Management Board of OU Agrin Partion (Commercial Registry
code 10259785, deleted from the registry on July 31, 2013), AS Verest (Commercial Registry code
10381687, deleted from the registry on 09.09.2010) and AS BPV (Commercial Registry code
10379236, deleted from the registry on 07.01.2011), and a Member of the Supervisory Board of Ela
Tolli AS (Commercial Registry code 10712954, deleted from the registry on March 21, 2016).
Aleksandr Rotko was a Member of the Supervisory Board of AS Verest (deleted), AS BPV (deleted)
and a Member of the Management Board of Ela Tolli AS (deleted). In addition, Aleksandr Rotko was
the sole member of the Management Board and the sole shareholder of OU Ella Kaubandus
(Commercial Registry code 10448316, deleted from the registry on 14.08.2012) which company was,
in turn, the sole shareholder of OU Agrin Partion (deletion), led by Olga Kotova.

Olga Kotova, acting jointly and in concert with Aleksandr Rotko, in the period from 2000 to
01.08.2006, exercised illegal possession on the territory Kiti 17 and 17a, Tallinn, belonging to the
Republic of Estonia.

Having learned that the Republic of Estonia wishes to establish its ownership of the above-
mentioned territory and the buildings and facilities belonging to the territory, Olga Kotova and
Aleksandr Rotko decided to dismantle as many assets as possible from the objects located in the
territory and sell them by turning the proceeds from the sale in favor of AS BPV (deleted) and
Merimpex Co, Ltd controlled by them. Namely:

During the period from 07.06.2006 to 01.08.2006, in the wharf located on the registered immovable
in Tallinn, Kiiti 17 and 17a, important parts of the wharf -pavement plates in the size 0.14x2.00x6.00
total 460 pcs, cover plates in the size 0.13x1,23x1.6 total 164 pcs and cover piates in the size
0.13x1.23x0.94 in total 35 pcs - were illegally removed i.e., without the permission of the Ministry of
justice, the representative of the owner, the Republic of Estonia, on the order of Aleksandr Rotko
and Olga Kotova, causing property damage to the Republic of Estonia to the extent of the cost of the
plates, i.e., in the amount of 1,755,096.60 kroons;

During the period from 07.06.2006 to 01.08.2006, in the registered immovable located In Tallinn, Kati
17 and 17a, gates of the territory of the registered immovable were illegally, i.e., without the
permission of the Ministry of Justice, the representative of the owner, the Republic of Estonia, ONE
order of Aleksandr Rotko and Olga Kotova, removed and destroyed, causing property damag es CMA 1; he
Republic of Estonia in the totalamount of 33,040 kroons; Fv :

      
 
  
  

  

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during the period from 07.06.2006 to 01.08.2006, in the registered immovable located int
7 and 17a, an important part of the registered immovable belonging to the Republic of ESt

    
  
     

Lass vA Ae with a total weight of 66.6 tons and a total value of 156,060 kroons, were rerivOy
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pect manager EXT-ROTKO-000135
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illegally without the permission of the Ministry of Justice, the representative of the owner, the
Republic of Estonia on the order of Aleksandr Rotko and Olga Kotova causing damage to the Republic
of Estonia in the total amount of 156,060 kroons;

during the period from 07.06.2006 to 01.08.2005, a boiler house building betonging to the Republic
of Estonia located on the territory Kiiti 17 and 17a, Tallinn, was damaged illegally, on the order of
Aleksandr Rotko and Olga Kotova, without the permission of the Ministry of Justice, the
representative of the owner, the Republic of Estonia and by way of dismantling, heating boilers with
the value of 12,500 kroons were removed, causing property damage to the Republic of Estonia
totaling 12,500 kroons;

during the period from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
i.e., without the permission of the Ministry of Justice, the representative of the owner, the Republic
of Estonia, a timber industry building belonging to the Republic of Estonia located on the territory of
Kiiti 17 and 17a, Tallinn, was illegally damaged, and by way of dismantling, heating boilers with the
value of 25,500 kroons were removed causing property damage to the Republic of Estonia totaling
25,500 kroons;

during the period from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
an administrative building located in the territory of Kiiti 17 and 172, Tallinn, belonging to the
Republic of Estonia was damaged and by means of a dismantling, the water, heat and power supply
equipment with a total value of 54,300 kroons were destroyed, causing a total loss In the amount of
54,300 kroons to the Republic of Estonia;

during the périod from 07.06.2006 to 01.08.2006, on the order of Aleksandr Rotko and Olga Kotova,
an administrative building located in the territory of Kiiti 17 and 17a, Tallinn, a seaplane hangar
locatedon Kiiti 17 and 17, Tallinn belonging to the Republic of Estonia and protected by heritage
conservation, removed the hatches of the dome holes with a total value of 20,000 kroons and
causing damage to the Republic of Estonia in the total amount of 20,000 kroons.

Subsequently, Olga Kotova and Aleksandr Rotko sold the majority of pavement plates illegally
dismantled from the wharf located at the registered immovable at Kiiti 17 and 17a, Tallinn still
belonging to the Republic of Estonia to Paldiski Sadamate AS, on July 18, 2006, under an agreement

which was signed by AS BPV (deleted), represented by Olga Kotova, Member of the Management

Board, and Paldiski Sadamate AS, represented by Aleksandr Kovaljov, Member of the Management

Board. AS BPV (deleted), in the person of Olga Kotova, Member of the Management Board of

submitted an invoice No. 292 to Paldiski Sadamate AS in the amount of 2 528 727.20 kroons and with

the explanation “Construction materials and equipment." According to Olga Kotova's declaration

dated 25.08.2006, Paldiski Sadamate AS paid to the current account of Merimpex Co Ltd., controlled

by Olga Kotova and Aleksandr Rotko, under invoice No. 292 of 06.09.2006. 2,142,989.15 kroons and _
also 385,738.05 kroons to the current account of AS BPV (deleted) current account at Swedba ies SAK
In this, Olga Kotova and Aleksandr Rotko transferred the foreign movables illegally in their p bse

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in favor of a third party, earning income in the amount of 2,914,465.25 kroons, or 186,268.ire

  
      
 
    
 
     

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riwmanager EXT-ROTKO-000136
Case 3:19-mc-00027-BJD-JRK Document 1-3 Filed 11/19/19 Page 36 of 57 PagelD 144]!

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Olga Kotova and Aleksandr Rotko also sold the railway tracks illegally dismantled from the wharf
located at Kit! 17 and 17a, Tallinn and still owned by the Republic of Estonia, from the name of AS
BPV (deleted) mainly to AS Kuusakoski. From the sale of the railway tracks and their fasteners, AS
BPV (deleted) received Income in accordance with Invoice No. 0120846 of 28.07.2006 issued by it to
AS Kuusakoski In the amount of 201,758.76 kroons, and on the 26th of July 2006, in accordance of
the invoice No 0118134 of 26.07.2006 in the amount of 504,660,04 kroons. In this, Olga Kotova and
Aleksandr Rotko transferred the foreign movables Illegally In their possession in favor of a third
party, earning income in the amount of 706,418,80 kroons, or 45,148,39 euros.

Olga Kotova and Aleksandr Rotko also sold the essential parts of the buildings and facilities illegally
dismantled from registered Immovable located at Kiiti 17 and 17a, Tallinn and still owned by the
Republic of Estonia, from the name of AS BPV (deleted) mainly to AS Refonda. From the sale of the
essential parts of the dismantled buildings and facilities, AS BPV (deleted) received income in the
amount of 11,979.36 kroons, on the basis of the invoice No 256 of 14.07.2006 submitted by it to AS
Refonda, in the amount of 14,917.85 kroons on the basis of the invoice No 241 of 05.07.2006, in the
amount of 15,972 kroons on the basis of the invoice No 243 of 06.07.2006. In this, Olga Kotova and
Aleksandr Rotko transferred the foreign movables illegally in their possession in favor of a third
party, earning income in the amount of 42,862, 21 kroons, or 2,739.39 euros.

With the above-described activity, Olga Kotova caused property damage to the Republic of Estonia in
the total amount of 234,156.05 kroons.

Thus, Olga Kotova committed a criminal offence by illegal converting of a movable or another asset in
her possession belonging to another person or entrusted to the person illegally in favor of a third
person by a group and, to a large extent pursuant to § 201 (2) 2) and (4) of the Penal Code.

From 01.01.2015, the activities of Olga Kotova are punishable under § 201 (2) 2) and 4) of the Penal
Code as illegal converting into his or her use or the use of a third person of movable property which
is in possession of another person or other assets belonging to another person by the group and to a

large extent.

Testimony:

Question: Have you committed the criminal offence, what you are suspected of?

Answer: | have committed no crime. I started to work at the Seaplane Harbor in autumn 208%

   
  
  

my employer was AS BPV, and | worked there as a secretary. When | went to work at the Seaply e
Harbor, the companies that were mentioned In the suspicion had already been operating thages *
Presumably, at the beginning of 2002, Aleksandr Rotko asked for mine and the accountant, te
Jekimova’s permission to enter our names as board members in the commercial register. As Ue: *
Geulotisanember of the board had just left, then Rotko explained that somebody should be aX

  

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member of the board and | will have no problems because of this, At the moment | cannot specify
the names of these companies the board member of which | was appointed | also do not remember
how many companies we were talking about. Aleksandr Rotko says that this should be done and we
did not object to it. We were supposed to fulfill our current responsibilities, me as secretary and
Tatjana Jekimova as an accountant. This means that | did not have any subordinates, | did not give
orders to anyone. My function at the company did not change. | also remember that Anti N66p was a
board member somewhere at some Rotko’s company. We continued to work as usual. When Rotko
asked me to sign the company’s balance sheet, | signed it. Sometimes, when he was not in the office,
he asked me to sign an Invoice. | did it. In the summer of 2006, the company had to move out of the
Seaplane Harbor. | remember that there was an order to move out, but | do not remember how and
with what document and when exactly this order came. Aleksadr Rotko asked me to draw up a list of
all the furniture and stationery goods that was located in the company's office. | did it. He also asked
me to pack all the documentation that was in the office of the companies in Seaplane Harbor. Then
one day {| moved out.. | do not remember what day it was and how it happened | did not take
anything from there with me.

My office windows in the Seaplane Harbor were not towards the territory at all, and | did not see
what was going on In the territory. | want to make it clear here that | moved around in the territory
of the Seaplane Harbor very rarely, a couple of times maybe because it was impossible to walk there
with high heels. | knew that the companies were moving out of the Seaplane Harbor and take their
belongings with them. It was known to everyone who worked in the companies that the property
belonging to them was taken away. In addition to me, Olga Novoseitseva, Tatyana Jekimova, Olga
Savitskaja, Anti Nodp and Aleksandr Rotko worked at the Seaplane Harbor. | never went back to the
Seaplane Harbor after moving out. On September 20, 2006, | got married to Aleksandr Rotko. He had
a permanent residence permit for the United States. Since nothing linked Aleksandr Rotko to Estonia
anymore, we decided to move to the United States. He left Estonia probably in October 2006; | was
waiting to be given the United States visa. In the meantime, Aleksandr Rotko learned that getting a
US visa would take several years, so we decided that | would go to Canada and start learning English.
| left Estonia in December 2006. Initially, | traveled to Russia to my relatives; then | went to Canada to
Niagara College, | did not know that | was wanted in Estonia. | do not remember having contacted
any colleagues from the Seaplane Harbor after leaving Estonia.

Question: How where you linked to OU Agrin Partion?

Answer: | know the company. It must have been one of the companies that | was asked to be
a board member of by Aleksandr Rotko.

Question: Where and in what field of activity and what specifically was OU Agrin Partion
engaged in?

Answer: I do not know what the company was doing.

Question: Who actually run OU Agrin Partion?

Answer: | know that all the companies that were located at the Seaplane Harbor offi i

 
 
  
      

  

\ How where you linked to AS Verest?
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Answer: In terms of this company | also know only that Aleksandr Rotko asked me to bea
member of the board of the company.

Question: Where and in what field of activity and what specifically was AS Verest engaged in?
Answer: I don’t know that.

Question: Who actually managed AS Verest?

Answer: Aleksandr Rotko.

Question: How where you linked to AS BPV?

Answer: if }rermember correctly, | received my salary from AS BPV.

Question: At whose recommendation did you become a member of the management board of
AS BPV?

Answer: Rotko asked me to.

Question; Where and in what field of activity and what specifically was AS BPV engaged in?
Answer: | know that it was engaged in wood processing in the area of the Seaplane Harbor.

Question: Who actually managed AS BPV?

Answer: Aleksandr Rotko.

Question: How where you linked to the company Ela Tolli AS?

Answer: That was the same story as | have already told you.

Question: On whose recommendation did you become a member of the Supervisory Board of
Ela Tolli AS?

Answer: Ma | do not know that | would have been a member of the Supervisory Board, |

remember that | was told about the status of a board member.
Question: Where in what field of activity and what specifically was Ela Tolli AS engaged In?
Answer: | don't know.

Question: Who actually managed Ela Tolli AS?

Answer: Probably Rotko.
Question: How were you connected with the addresses Kiiti 17 and Kuti 17a in Tallinn In 2006?
Answer: It was the territory of the Seaplane Harbor where the companies that were

mentioned in the suspicion were located.

  
 
 
 
 

Question: Whether, how and when did you learn that the Republic of Estonia wishes x
establish possession of the bulldings and installations belonging to the territory of eee uy en
17a In Tallinn and to the territory? a

 
 
 

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e original text in Estonian.

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Answer: { do not remember exactly when and how it happened, everyone knew it. There may
have been talking about the term of moving out.

Question: During the period from 07.06.2006 to 01.08.2006, in the wharf located on the
registered immovable in Tallinn, Kati 17 and 17a, important parts of the wharf -pavement plates in
the size 0.14x2.00x6.00 total 460 pcs, cover plates in the size 0.13x1.23x1.6 total 164 pcs and cover
plates in the size 0.13x1.23x0,94 in total 35 pes - were removed. Who ordered the removal, who
removed, where were they placed, from behalf of which company and to whom they were sold and
at what price?

Answer: | do not know how the removal took place, who removed them, where they were
placed, on behalf of which company and at what price. | know to say that | have not given orders to
remove them. | also cannot tell if and since when the pavement plates were there.

Question: Question: During the period from 07.06.2006 to 01.08.2006, in the registered
immovable located in Tallinn, Kiiti 17 and 17a, gates of the territory of the registered immovable
were removed and destroyed. Who ordered the removal, who removed, where were they placed,
from behalf of which company and to whom they were sold and at what price?

Answer: Who ordered the removal, who removed them, where were they placed, on behalf of
which company and to whom they were they sold and at what price? | do not know anything about
it..

Question: An important part of the registered immovable belonging to the Republic of Estonia,
railway tracks with a total weight of 66.6 tons were removed in the registered immovable located in
Tallinn, Kuti 17 and 17a. Who ordered the removal, who removed, where were they placed, from
behalf of which company and to whom they were sold and at what price?

Answer: | do not know how the removal took place, who removed them, where they were
placed, on behalf of which company and at what price. | know to say that | have not given orders to
remove them. | also cannot tell ifand since when the railway tracks were there.

Question: During the period from 07.06.2006 to 01.08.2006, a boiler building belonging to the
Republic of Estonia located on the territory of Kiiti 17 and 17a, Tallinn, was damaged and the boilers
were removed from there by way of dismantling. Who ordered the damage and dismantling of
boilers, who damaged, who dismantled, where were they placed, if, on behalf of which company and
to whom they were sold and at what price?

Answer: { do not know anything about them. | only know that at the time | went to work at
Seaplane Harbor, there was no heating at the Seaplane Harbor, but at some point, they started up
the heating.

 
  
 
   
   
   
   
 

Question: During the period from 07.06.2006 to 01.08.2006, a timber industry building A
belonging to the Republic of Estonia located on the territory of Kiiti 17 and 17a, Tallinn, was, ot
damaged and boilers were removed from there by way of dismantling Who ordered the d qoiage'a
dismantling of boilers, who damaged, who dismantled, where were they placed, if, on be eI
__-whick.company and to whom they were sold and at what price? y

fied ARIK SS
Answer. S\ I don’t know anything.

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Question: During the period from 07.06.2006 to 01.08.2006, an administrative building located
in the territory of Kiiti 17 and 17a, Tallinn, belonging to the Republic of Estonia was damaged and by
means of a dismantling, the water, heat and power supply equipment installed In it were destroyed.
Who ordered the damage and dismantling of boilers, who damaged, who disnantled, where were
they placed, if, on behalf of which company and to whom they were sold and at what price?

Answer: | don’t know anything about it. When | left the Seaplane Harbor, it was warm there;
there were light and water.

Question: During the period from 07.06.2006 to 01,08.2006 a seaplane hangar located on Kilti
17 and 17, Tallinn belonging to the Republic of Estonia and protected by heritage conservation, was
damaged, by way of removing from there the hatches of the dome holes. Who ordered the removal,
who removed them, where were they placed, if, on behalf of which company and to whom they
were sold and at what price?

Answer: Who ordered the removal, who removed them, where were they placed, on behalf of
which company and to whom they were they sold and at what price?

Question: BPV AS and AS Kuusakoski processed the instrument of delivery and receipt of
ferrous and non-ferrous metal, scrap metal and waste metal No. 0118134 (July 26, 2006), you signed
it on behalf of the seller BPV AS. What did you sell, for what reasons did you sell and where did the
sold assets come from?

Answer: | already said before that if Rotko was not in the office and if he had asked me to sign
something, | did it. | already said before that if Rotko was not in the office and if he had asked me to
sign something, | did it. | did not check the papers | signed because | had no reason not to trust the
company.

Question: BPV AS and AS Kuusakoski processed the instrument of delivery and receipt of
ferrous and non-ferrous metal, scrap metal and waste metal No. 0120846 (7/28/2006), you signed it
on behalf of the seller BPV AS. What did you sell, for what reasons did you sell and where did the sold
assets come from?

Answer: | already said before that if Rotko was not in the office and if he had asked me to sign
something, | did it. | already said before that if Rotko was not in the office and If he had asked me to
sign something, | did it. | only knew that the companies had to move out of the Seaplane Harbor and
are selling their property.

Question: You signed on behalf of BPV AS on 05.07.2006 the invoice No. 241 to Refonda 00 on
the sale of scrap metal. What did BPV AS sell to Refonda OU, for what reasons did you sell it and
where did the sold assets come from?

Answer: | already said before that if Rotko was not in the office and if he had asked me to sign

  
 
  
  

company.

Question: You signed on behalf of BPV AS on 06.07.2006 the Invoice No. 243 to Refonw
the sale of scrap metal, What did BPV AS sell to Refonda OU, for what reasons did you sell
the sold assets come from? th

 
  

  

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Answer: Same story as with previous answers. | was not aware of what exactly was sold.

Question: You signed on behalf of BPV AS on 14.07.2006 the invoice No. 256 to Refonda OU on
the sale of scrap metal. What did BPV AS sell to Refonda OU, for what reasons did you sell it and
where did the sold assets come from?

Answer: Same story as with previous answers. | was not aware of what exactly was sold.

Question: You concluded on behalf of AS BPV a sales contract No 1 with Paldiski Sadamate AS
(July 18, 2006) by which you sold to Paldiski Sadamate AS the building materials and equipment
owned by AS BPV. For what reasons did BPV AS sell assets to Paldiski Sadamate AS?

Answer: Rotko asked me to sign the document, | knew that the companies were selling thelr
assets..
Question: You have signed a declaration to Paldiski Sadamate AS asking you to pay an invoice to

Merimpex Co.Ltd's current account at Nordea Bank Danmark AS. For what reasons did you ask to
make the transfer to AS Merimpex Co.Ltd for assets owned by AS BPV?

Answer: | did it at Rotko's request. | do not know anything about Merimpex Co.Ltd.
Question: What was your link to Merimpex Co.LTd?
Answer; | have no connection with this company.

Question: For what reasons did Aleksandr Rotko, in 2006, used the name box No 1525 of AS
Eesti Post, which was located at Kalamaja post office?

Answer: | cannot answer that. | do not know why Rotko needed it. | have never used it.
Question: Who owned the Acura Trooper SLX with register number 61ZGB?

Answer: it was Rotko’s car. He asked me to transfer the car to Olga Novoseltseva’s name, | do
not know why Rotko asked me to transfer the car to Olga’s name. | just made the transfer of the car
to Olga’s name at the request of Rotko, and | no longer know anything about this car.

Question: Whether, and in what way and in what amount did Olga Novoseltseva pay for the
car?

Answer: No money moved between Olga and me.

Question: Whether and for what reasons did you communicate with Olga Novoseltseva after

leaving the Republic of Estonia?
Answer: | do not remember having communicated with her.

Question. Who did the email amal-221@yandex.ru belong to in March 2007?

    
 

Answer: 1 do not know anything about this address.

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Question: Where is Aleksandr Rotko currently?

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| do not know where he is at the moment. We divorced in 2012. | saw him last
“halso have not talked to him since.

    
 

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e original text in Estonian.

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Prosecutor's question: On what grounds did you give consent to becoming a board member?
Answer: At Rotko's request.
Prosecutor's question: What kind of education did you have in 2001?

Answer: Secondary specialized education. | graduated from the Tallinn School of Economics,
the specialty of business management, graduated with average results.

Prosecutor's question: What were your previous jobs before you ended up at the Seaplane Harbor?

Answer: | worked for about a year as a cashier at McDonalds, about a year as a salesperson in
the furniture company A&A, a few months as a secretary In a small accounting firm. | do not
remember who managed the accounting firm..

Prosecutor's question: Under what circumstances and how did you get to the Seaplane Harbor?
Answer: Through an advertisement. | do not remember where the advertisement appeared.
Prosecutor's question: When exactly and how did you leave Estonia?

Answer; in December 2006 | went to St. Petersburg, where | was until the beginning of 2007
when | traveled

to Canada.

Prosecutor's question: What did you do in Russia?

Answer: | did not do anything, just stayed at relatives. | had no plans to do anything in Russia.
Prosecutor's question: What kind of funds did you live in Russia?

Answer: | was visiting relatives

Prosecutor's question: Who financed the purchase of tickets to Canada?
Answer: | don’t remember,

Prosecutor's question: What was your relationship with Olga Savitskaja like?
Answer: A normal relationship.

Prosecutor's question: When did you last interact with Olga Savitskaja?
Answer: 1 don’t remember.

Prosecutor's question: | don’t remember.

Answer: Olga Novoseltseva was an accountant, Tatjana iets was an accountant. Anti

with documentation on the reprocessiieg of timber.

Prosecutor's question: Who from the above-mentioned persons, and how well did they spe f
Estonian? :

    
 

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‘ riginal text in Estonian.

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Answer: Anti Nédp was fluent in Estonian. | was fluent. | do not know about the others
because | did not communicate with them in Estonian. | did not speak with Rotko in Estonian, either.

Prosecutor's question: How did you learn to speak Estonian?

Answer: Until the age of thirteen, | was raised by my stepfather, he was an Estonian. From
there I can speak Estonian. | spoke Russian to my mother. With my half-brother, | spoke both
Estonian and Russian.

Prosecutor's question: Who prepared the Estonlan-language documents of the Seaplane Harbor?

Answer: Some documents were prepared by me, a part of them by lawyers, some documents
were prepared by accountants and Olga.

Prosecutor's question: What did you do in Canada?

Answer: in the beginning, for about 2.5 years, | studied. Then | started working, | was support
staff in various companies,

Prosecutor's question: Who financed your life in Canada?

Answer: | worked in Canada all the time, even during the studies. | also got a scholarship. |
financed myself.

Prosecutor's question: What do you know about Aleksandr Rotko's life before the Seaplane Harbor?

Answer: | know he was a master of a ship. | know that he was born in Ukraine, | do not know
when he got Into Estonia.

Prosecutor's question: Have you heard that Aleksandr Rotko would have spoken to Estonian with
anyone?

Answer: 1 don’t remember.
Prosecutor's question: Do you know if Aleksandr Rotko spoke Estonian?

Answer: 1 do not know this because | did not speak to him in Estonian.

Olga Kotova is presented with the mandate No. 3-131 issued on behalf of AS Verest on 09.12.2002.
2002 no 3-131.

Prosecutor's question: In connection with what did you Issue mandates on the name of Aleksandr
Ratko, one of which was No. 3-131 issued on behalf of AS Verest on December 9, 2002?

Answer: In fact, Aleksandr Rotko actually had a general mandate from all the companies. ido
not know why such a specific mandate was issued. | do not remember if | prepared this document
myself, or L only provided a signature to the document. GE

     
  
   
 

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Everyone knew something was happening. | also knew. The companies w Be
lawyers at the court. SS,
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he original text in Estonian.

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i don’t remember the names of the lawyers. | do not know who contacted the lawyers on behalf of
the companies, | did not interact with these on behalf of the companies.

Prosecutor's question: Where was Aleksandr Rotko in 20077
Answer: As far as | know, in the USA.
Prosecutor's question; How many times did you meet Aleksandr Rotko in 2007 and where?

Answer: He visited me in Canada about once in two months. First in Welland, later in Saint-
Catharine.. These cities were my places of residence

Defender’s Question: What was your life like with Rotko in America?

Answer: | received the United States visa in 2011 and moved from Canada to America. In
September 2011, we submitted applications for divorce.

Prosecutor’s question: During the period 2001-2006 you lived in Tallinn. Where exactly?

Answer: At the beginning, there was a rental flat in Lasnamdae, | don’t remember the street.
Later | moved to Kopli; | remember the street was called Puuvilla. That was a rental flat too.

Prosecutor's question: Did you have a TV set In the above-mentioned places?

Answer: | do not remember if there were televisions, they probably were, But | watch TV very
little.

Prosecutor's question: In what circumstances and when did Aleksandr Rotko register Acura Trooper
SLX reg., number 61ZGB to your name?

Answer: In the autumn, Rotko announced that he would register the car in my name. Before
that, the car belonged to a third person whose name | do not remember. He registered the car
temporarily to my name, not explaining more.

Prosecutor's question: For what reasons did you register the car in the name of Olga Novoseltseva?

Answer! All | know is that the car belonged to Rotko and he wanted me to register the car in
the name of Novoseltseva.

Prosecutor's question: Did you have driver's license?

Answer: I did.

Defender’s Question: Did you use the car Acura Trooper SLX with the registration number 61ZGB?
Answer: | didn’t. | did have the license, but | did not drive the car

Prosecutor's question: Who was involved in the movement of money of the companies referred to
in the suspicion in banks?

Answer: The accountants, | do not know by names, and whether it was both of the
accountants or one of them. | did not deal with it.

Saka et Who gave accountants the power to use bank accounts?

 

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Answer: Not me. You must ask the manager of the company, Rotko. | would add that | have
never visited the banks to handle things of the companies mentioned in the suspicion.

Prosecutor's question: According to the data of the population register, you still have Estonian
citizenship. Did you inform the Republic of Estonia about receiving the citizenship of the United
States? And If you did, how and when exactly?

Answer: In Finland, when | was detained, | sent a letter to the Embassy or the consulate of the
Republic of Estonia | do not remember exactly) asking for the abandonment of Estonian citizenship. |
got no response.

Prosecutor's question: Which documents of the Republic of Estonia did you have?

Answer: | had an Estonian passport, but it’s expired, | left Estonia 10 years ago; | don’t
remember if | had an identity card.

Annexes to the Record: None.
Notes on the Record: (handwritten): Record is written according to my words and translated to me.

The parties to the Investigation procedure (except for the suspect and the accused) have been
explained that, according to § 214 of the CCP, the data of pre-trial proceedings may be disclosed
solely with the permission of the Prosecutor's Office and to the extent determined by him or her.

Defense is required to keep confidential the information he or she received during criminal
proceedings in the course of the provision of legal assistance. The defense is permitted to disclose to
the defendant the information obtained during criminal proceedings in the course of the provision of
legal assistance, The detalls of the proceedings relating to the defendant can only be disclosed by the
defense on the consent of the defendant and if the interests of justice require it.

End of Investigation Action: 13.10

Siret Ratsepp
Olga Kotova
Janek Valdma

Andrei Voronin

Ele Uutmaa

 

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® POLITSEI-JA PIIRTVALVEAMET

TUNNISTAJA ULEKUULAMISE PROTOKOLL
kriminaalasjas nr 06730000427

23.11.2016 Tallinn
Uurimistoimingu algus: 09.00

Politsei-ja Piirivalveameti Pdhja prefektuuri kriminaalbilroo raskete kuritegude talituse
tildkuritegude teenistuse vanemuurija vanemkomissar Natalja TSuga, juhindudes KrMS §-dest
68, 74 ja 146, kuulas ile tunnistaja:

1. Tunnistaja andmed:

Nimi: Olga Novoseltseva
eB Isikukood voi siinniaeg: 47203270350

Kodakondsus: eesti

Haridus: kesk

Elu- véi asukoht ja aadress: Tallinn, Liikuri 36-26
Tédkoht v6i Sppeasutus: AS Kaupmees&Ko
Kontaktandmed: tel 55 610 434

Suhe kannatanu ja kahtlustatavaga: endine BPV AS tédtaja
Isikusamasus tuvastatud: ID-kaart AA0432754

“rR mo ao op

Tunnistaja digused ja kohustused

Tunnistaja on kohustatud andma téeseid Utlusi, kui Othuste andmisest keeldumiseks puudub seaduslik alus kdesoleva
seadustiku §-de 71-73 jargi (KrMS § 66 ldige 3). Tunnistajale selgitatakse tema Sigust kirjutada Utlusi omakdeliselt
(KrMS § 68 Idige 1). Tunnistaja vdib Otlusi andes kasutada arvandmete ning nimede ja muude raskesti
meelespeetavate andmete kohta markmeid ja muid dokumente (KrMS § 68 ldige 3). Tunnistaja vOib taotleda, et
tema diguste kaitseks viibiks kohtueelses menetluses tema filekuulamise juures tema lepingulise esindajana advokaat
voi muu kiesoleva seadusega lepingulisele esindajale kehtestatud haridusnduetele vastav isik (KrMS § 67' lige 1).
eS Kui tunnistajal ei Snnestu kahe tidépSeva jooksul toimingu alguse ajast ilmuda koos esindajaga, viiakse
Glekuulamine [abi ilma esindajata ( KrMS § 67' lige 3). Esindaja ei véi olla KrMS § 67! ldikes 2 sitestatud isik,
Oigus keelduda tunnistajana Otluste andmisest on kahtlustatava voi sOldistatava: alanejal ja Oleneja! sugulasel; Sel,
pooldel, vennal, poolvennal v@i isikul, kes on vdi on olnud abielus kahtlustatava vdi sUttdistatava de, poolde, venna
véi poolvennaga; vSdras- voi kasuvanemal, vOdras- v6i kasulapsel; lapsendajal ja lapsendatul; abikaasal, pOsivas
kooselus oleval isikul ja tema vanemal, sealhulpas pHrast abielu vOi pOsiva kooselu JOppemist (KrMS § 71 Idige 1).
Tunnistaja vOib keelduda Otluste andmisest ka siis, kui Otlused véivad kuriteo véi vaarteo toimepanemises silistada
teda ennast véi KrMS § 71 ldikeg 1 loetletud isikuid ja juhul, kui ta on kaastdideviijana voi osavitjana samas
kuriteos siidi vai digeks m@istetud (KrMS § 71 Idige 2). Oigus tunnistajana keelduda kutsetegevuses teatavaks
saanud asjaolude kohta Otluste andmisest on: Eestis registreeritud usuorganisatsiooni vaimulikul; kaitsjal ja notaril,
kui seaduses ei ole satestatud teisiti; tervishoiut6dtajal ja farmatseudil isiku paritolusse, kunstlikku viljastamisse,
perekonnasse vidi tervisesse puutuvate asjaolude puhul; isikul, kellele on seadusega pandud ameti- vOi kutsesaladuse
hoidmise kohustus (KrMS § 72 ldige 1). Tunnistajal on digus keelduda Otluste andmisest nende asjaolude kohta,
mille suhtes kohaldatakse riigisaladuse seadust (KrMS § 73 ldige 1). Tunnistajal on Gigus taotleda, et
Olekuulamisprotokollis ei margita tema elu- vi t68kohta vOi Gppeasutuse nimetust (KrMS § 74 lige 3).

2. Tunnistajale on tutvustatud tema digusi ja kohustusi KrMS §-des 66-74 ning selgitatud
nende sisu. Vahemalt 14-aastast tunnistajat on hoiatatud, et iltluste andmisest seadusliku
aluseta keeldumise ja teadvalt vale titluse andmise eest jargneb "Fin §-de 318 ja

e 320 jargi. A
V/A
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3. Uurimistoimingus osaleb tlk Galina Magi, kes on KrMS § 161 ldike 6 kohaselt

kohustatud télkima kéik menetlustoimingusse puutuva tapselt ja téielikult ning hoidma
S saladuses talle t6lkimisel teatavaks saanud andmeid. Teda on hoiatatud, et oma
iilesannete tiitmisest alusetu keeldumise ja teadvalt valesti télkimise eest vastutab ta

KarS §-de 318 ja 321 jargi. oa
Cas <4.

4. Ulekuulamisel osaleb: protokollija Siret Ratsepp
Kasutatud tehnikavahendid: ei kasutatud
6. Utlused:

Mina otsisin t65d, panin ajalehte kuulutuse. Selle peale véttis minuga ihendust
Aleksandr Rotko, kes pakkus minule tééd. Ma asusin tédle AS-i BPV
pearaamatupidajana aastal 2002. Seal oli téd! veel tiks raamatupidaja Tatjana Jekimova.
Minu tilesandeks oli aruannete, bilansi koostamine, palgaarvestus, arvete koostamine.

Agrin Partion OU-s olid té6] valvurid, teistest firmadest maletan ainult seda, et need olid
olemas. Ma ei tea, millega AS Verest, AS Ela Tolli ja Ella kaubanduse AS. BPV AS-i
e puidu iimbertédtlemisega. Et kdik ettevitted tegutsesid, sest kéigi ettevdtete nimel esitati
arveid.
Téékoht asus Kiiti tinaval administratiivhoones. Kui mina tédle tulin, oli kontorihoone
remonditud, kéik oli korras, kiite, vesi ja elekter olid olemas. Territooriumil midagi suurt
enam ei ehitatud, kui mina t661 olin. K6ik oli juba selleks ajaks valmis, kui ma tédle
asusin. Ma nagin mingeid ehitusega seotud arveid kitll, mis olid ajast, mil mina veel AS-
iga BPV seotud ei olnud. Praeguseks ma enam ei mileta nende tdpset sisu. Kui mina seal
t6dtasin, siis mingeid ehitusega seotud arveid enam peale ei tulnud. Maletan, et
kohtuvaidluste ajaks palus Rotko, et ma arvutaksin kokku, kui palju on raha ehitusse sisse
pandud. Minu miletamist mééda oli see summa 33 miljonit krooni.

Administratiivhoone keldrikorrusel oli Milaro AS ravioolide tootmine. Mialetan, et seda
ettevdtet juhtis keegi poolakas. Ma miletangi, et kontorihoones oli ravioolide tootmine
ja siis meie kontor. Kontoris tédtasid Olga Kotova sekretirina, raamatupidajana Tatjana
Jekimova, Anti N6ép sadama kaptenina, laos AnZelika Korotkaja. Kui AnZelika lahkus,
tuli tema kohale Olga Savitskaja.
Olga Kotova valmistas ette dokumente, tegi telefonikénesid, téikis dokumente eesti
keelde. Mulle justkui meenub, et Olga Kotova kdis kohtuistungitel, sest Aleksandr Rotko
Y eesti keelt ei valda, Aga tipsustada ma seda kuidagi ei saa, sest ei maleta. Tédle vottis
kdik inimesed Aleksandr Rotko. Igapaevast juhtimist teostas Aleksandr Rotko, kdik
otsused véttis samuti vastu tema. Me tddtajatega omavahel eriti palju ei suhelnud. Ma ei
oska valja tuua, et Olga Kotova oleks kellegagi t66 juures rohkem suhelnud, kui teistega.
KGik suhtlesid té6-alaselt, kui vaja oli.
Minul oli ligipaiis ettevdtete kontodele. BPV AS-il oli PIN kalkulaator, teistel ettevétetel
olid olemas pangaparoblid, Ma ei mileta, kas PIN kalkulaator oli minu voi Rotko kées.
Tean, et Aleksandr Rotkol oli kindlasti ligipaas. Ma ei maleta, kas Olga Kotoval oli
kontodele ligipaas. Kui mina suvel Rotko firmadest lahkusin, siis mina enam kontosid ei
kasutanud. Miletan ainult, et peale suve 2006 valjastasin méned arved Ella kaubanduse
AS nimel.
Kui mina lahkusin tddlt, votsin endaga kaasa méned Ella kaubanduse dokumendid, mille
alusel hiljem arved esitasin. Ulejatinud ettevétete dokumendid viis minu maletamist
mdéda dra kontorist Aleksandr Rotko. Aga meil ei olnud juttu, kuhu ta need viib. Need
Ella kaubanduse dokumendid, mille ma kaasa vétsin hivitasin 7 aasta méddudes.
2006 iitles Rotko, et peame vabastama territooriumi ja administratiivhoone.
bi Sadamakraana viidi metalli kokkuostu, négin sellekohast arvet. Samuti sain aru, et miiiidi
mingeid katteplaate. Ma ei oska tapsustada, millal ja millises ulatuses miitidi. Mina sain
aru, et Rotko tritas maha miliia kdike, mida ta ise oli sinna paigutanud ja ae
Hp /,

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sai maha milla, sest et tema firmad pidid territooriumilt lahkuma. Tapsemaid asjaolusid
ei mileta. Sain aru, et kuna Rotko oli paigutanud sellesse territooriumi suuri summasid,
siis olukorras, kus ta pidi territooriumilt vilja kolima, mills ta maha asjad, selleks et
mingi raha tagasi saada.

Mina ei oska delda, mis sai ettevotetest edasi, kui suvel 2006 vilja kolisime. Ma ei ole
peale seda tédtajatest kellegagi suhelnud. Ainult kord aastas Tatjana Jekimovaga.

Viimast korda nigin ma Olga Kotovat detsembris 2006. Aleksandr Rotkod ei ndinud
enam peale suve 2006. Ma ei mileta, millest me viimasel kohtumisel Olgaga rétkisime.
Maletan, et auto kirjutati minu nimele seeparast, et kui auto saab maha miitidud, siis mina
oleksin edastanud milgist laekunud raha. Kellele tapselt, seda ma ei miileta. Mulle ittles
Olga, et hiljem véetakse minuga tthendust ja Seldaks, kuhu rahad kanda. Praegusel hetkel
ei maleta ma enam minu ja Olga viimase vestluse asjaolusid.

Ma tean, et AS-i] BPV oli koduleht lennusadam.ee, kuid see oli vaga vahe informatiivne.
Sellega tegeles Dmitri Gofmekler firmast Arvid Logicum, tel 50 27705.

Ma ei mileta, millisel pohjusel tegi Olga Kotova minule itlekande 23.03.2006 1 300
krooni ja miks mina kandsin Olga Kotovale 30.12.2006 5000 krooni. Samuti ma ei
miieta, et minul oleks olnud laenusuhted Rotko firmadega.

Tatjana Rotko’d nigin m@nel korral kontoris, ka nende tiitar oli emaga kaasas. Aga mina
nendega ei suhelnud. Ma teadsin, et Aleksandril on pere Ameerikas.

Corona Resources S.A. tuleb mulle tuttav ette, kuid ma ei tea, millega seoses. Ma négin
arvatavasti mingeid arveid nendega seoses, aga ma ei maleta enam, kas need parinesid
ajast, mil mina veel ei téétanud BPV-s v6i minu téétamise ajast.

Rohkem midagi lisada ei oska.

Protokolli lisad: ei ole G
kaki Ake

7. M protokolli kohta: ute. CLO shh Fe Cis tantgkeasnte ae
“DEMO... betel, LABLGEMO,. (ode).

 

sede kOe eee PRES NARS ETERS ORE e SSS RAED E EES REET RTP REET LTS S ETH SST TST Te Tee es eS

8. Uurimistoimingus osalejaile on selgitatud, et vastavalt KrMS §-le 214 voib kohtueelse
menetluse andmeid avaldada iksnes prokuratuuri loal ja tema maaratud ulatuses.

9. Tunnistaja esindaja on kohustatud hoidma saladuses talle kriminaalmenetluse kdigus
Sigusabi andmisel teatavaks saanud andmeid. Esindajal on lubatud kriminaalmenetluse
kiigus Gigusabi andmisel teatavaks saanud andmeid avaldada esindatavale. Esindatava
kohta kiivaid kohtueelse menetluse andmeid vib esindaja avaldada vaid esindatava
ndusolekul ning KrMS §-s 214 ettenahtud tingimustel.

  

Uurimistoimingu ldpp: 11.10 Filpe went peoeleyt
gM int pt. Mane qonane jap
Natalja TSuga <7 Pug eave tes te Ltesedy a
pret. txip'tel.

Yolk Galina Migi on notatatud vasiuirse

: . - KarS §-de 318 ja. 32) jargi
nese: i sie fp  ballkirt:

10. Uurimistoimingust osa vGtnud [menetlusseisund ja nimi] keeldus protokollile alla
kirjutamast, sest [margitakse keeldumise pdhjus).
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POLICE AND BORDER GUARD BOARD

SUSPECT INTERROGATION RECORD
in the criminal matter No. 06730000427

23.11.2016 Tallinn
Beginning of the investigation activities: 09.00

Police Lieutenant Natalja Tsuga, General Crimes Service, Divison of Severe Crimes, Criminal Bureau
of North Prefecture of Police and Boder Guard Board, guided by §§ 34, 68, 74 and 146 of the Code of
Criminal Procedure, interrogated the witness:

1, Witness details:

a) Name: Olga Novoseltseva

b) Personal ID code or date of birth: 47203270350

c) Nationality: Estonia

d) Education: secondary

e) Place of residence or location and address: _— Tallinn, Liikuri 36-26

f) Workplace or educational institution: AS Kaupmees&Ko

g) Contacts: tel 55 610 434

h) The relationship between the victim and the suspect: a former employee of BPV AS
i) Identified: ID-card AA0Q432754

Rights and obligations of the witness

A witness is required to give true testimony if there is no legal basis for the refusal to testify in
accordance with §§ 71-73 of this Code (§ 66 (3) of the CCP). The witness is explained his or her right

to write testimony in person (§ 68 (i) of the CCP). The witness can give testimony using notes and
other documents for numbers and names and other hard-to-remember data (§ 68 (3) of the CCP} A
witness may request that an advocate or any other person who meets the educational requijetments
established for contractual representatives be present for the protection of his or her rigk feat th
interrogation of the witness in the pre-trial proceedings. (Clause § 671 (1) of the CCP), &

   
     
  
 

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portesHoridsitette original text in Estonian.

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be conducted without a representative. (§ 671 (3) of the CCP). The representative may not be a
person specified In § 671 (2) of the CCP.

The following persons have the right to refuse to give testimony as witnesses: the descendants and
ascendants of the suspect or accused; a sister, stepsister, brother or stepbrother of the suspect or
accused, or a person who is or has been married to a sister, stepsister, brother or stepbrother of the
Suspect or accused; a step or foster parent or a step or foster child of the suspect or accused; an
adoptive parent or an adopted child of the suspect or accused; the spouse of or a person
permanently living together with the suspect or accused, and the parents of the spouse or person,
even if the marriage or permanent cohabitation has ended.(§ 71 (1) of the CCP). A witness may also
refuse to give testimony if: the testimony may lay blame on him or her or a person listed in § 71 (1)
of the CCP for the commission of a criminal offence or a misdemeanour; he or she has been
acquitted or convicted in the same criminal offence as a Joint principal offender or an accomplice. (§
71 (2) of the CCP). The following persons have the right to refuse to give testimony as witnesses
concerning the circumstances which have become known to them In their professional or other
activities: the ministers of religion of the religious organisations registered in Estonia; counsels and
notaries unless otherwise provided by law; healthcare professionals and pharmacists regarding
circumstances concerning the descent, artificial insemination, family or health of a person; a person
who is legally obliged to observe professional secrecy (§ 72 (1) of the CCP). A witness has the right to
refuse to give testimony concerning circumstances to which the State Secrets and Classified
Information of Foreign States Act applies (§ 73 (1) of the CCP) At the request of a witness, the
residence or place of work or the name of the educational Institution of the witness shall not be
indicated in the minutes of the hearing of the witness. (§ 74 (3) of the CCP).

2. The suspect has been introduced her rights and obligations in §§ 66-74 of the CCP and
explained their content, At least 14-year-old witnesses are warned that responsibility for the refusal
to give testimony without legal grounds and for knowingly providing false testimony follows
according to §§ 318 and 320 of the Penal Code.

(signature of the witness):

3. Galina Magi an interpreter who, according to § 161 (6) of the CCP, is obligated to translate
everything related to the procedural activities precisely and completely and shall maintain the
confidentiality of the information which became known to him or her in the course of the translation,
is involved In the investigative activity. She has been warned that she is responsible for the
unjustified refusal of fulfilling her duties and for knowingly false translation in accordance with §§
318 and 321 of the Penal Code.

(interpreter's signature)

The following persons are present at the interrogation: Records taken by Siret Ratse af

   

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“/ This as ate as ee translated by Unicom Translation Agency (Unicom Télkeabiiroo OU) and
pron in original text in Estonian.

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Case 3:19-mc-00027-BJD-JRK Document 1-3 Filed 11/19/19 Page 52 of 57 PageID 166-

| was looking for a job; | posted a newspaper ad. After that Aleksandr Rotko contacted me and
offered me work. | started employment in AS BPV as Chief Accountant in 2002. There was already
another accountant, Tatjana Jekimova. My task was to produce reports, balance sheets, payroll,
invoices.

Agrin Partion OU had guards at work, but from other companies, | only remember that they were
there. | do not know what AS Verest, AS Ela Tolli and Ella Kaubanduse AS were engaged in. BPV AS
was engaged in wood processing. All companies were operating because invoices were issued on
behalf of all companies.

The workplace was located in the administrative building of Kiiti Street. When I came to work, the
office building had been redecorated; everything was fine, heating, water, and electricity were there.
There was nothing much more being built on the territory when | was at work. Everything was ready
by the time when ! started working. | did see some construction-related invoices that were from the
time I was yet not associated with AS BPV. By now, | no longer remember their exact content. When |
was working there, no more construction invoices came up. | remember that during the court action,
Ratko asked me to calculate how much money had been put into construction. By my memory, this
amount was 33 million kroons.

At the basement of the administrative building, there was Milaro AS producing ravioll. | remember
that this company was headed by some Polish person. | remember that in the office building was the
production of ravioli and then our office. In the office, Olga Kotova worked as a secretary, Tatjana
Jekimova as an accountant, Anti Np as the harbor master and Anzelika Korotkaja worked in the
warehouse. When Anzelika left, Olga Savitskaja came to her place. Olga Kotova prepared documents,
made phone calls, translated documents into Estonian. It seems to me that Olga Kotova went to
court sessions because Aleksandr Rotko does not speak Estonian. But | cannot give you details
because | don’t remember. All people were employed by Aleksandr Rotko. Everyday management
was carried out by Aleksandr Rotko, and all decisions were also taken by him. We, the staff, did not
really interact with each other very much. | cannot say that at work Olga Kotova would have
communicated with someone more than with others, Everyone interacted only on the work-related
issues, as needed.

| had access to the accounts of the companies. BPV AS had a PIN calculator, and other companies had
bank passwords. I cannot remember if the PIN calculator was kept by Rotko or by me. | know that
Aleksandr Rotko definitely had access. | do not remember whether Olga Kotova had access to
accounts. When | left Rotko’s companies in the summer, | no longer used the accounts. | only
remember that after the summer of 2006 | issued some invoices on behalf of Ella trade AS.

When | left work, | took with me some Ella trade documents, under which | later submitted invoices.
As far as | remember, the documents of the other companies were taken out of the office by
Aleksandr Rotko. But we did not talk about where he was taking them. | destroyed these Ella trade
documents which | took with me 7 years later.

 
 
    

In 2006, Rotko said that we must release the territory and the administrative building.

The harbor crane was taken to the scrap metal buying-in point; | saw an invoice for that. Wig
understood that some cover plates were being sold. | cannot tell exactly when and to wig

    

   

his companies had to leave the territory. | do not remember more specific

T “Ys
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circumstances. | understood that since Rotko had invested large amounts of money in this territory,
then In the situation where he had to move out of the territory, he was selling the things to get some
money back.

| don’t know what happened to the companies after we moved out in the summer of 2006. | have
not spoken to any of the employees after that. Only once a year with Tatjana Jekimova.

Last time I saw Olga Kotova in December 2006. | did not see Aleksandr Rotko again after summer of
2006. | don’t remember what Olga and | talked about at our last meeting. | remember that the car
was written to my name because if the car was sold, | would have transferred the money from the
sale, To whom exactly, | do not remember. Olga told me that | would later be contacted and told
where to transfer the money. At this moment, | no longer remember the circumstances of my last
conversation with Olga.

| know that AS BPV had a homepage at lennusadam.ee, but it was not very informative. This was
dealt with by Dmitri Gofmekler from Arvid Logicum, phone 50 27705.

| cannot remember why Olga Kotova made me a transfer of 1300 kroons on 23.03.2006 and why |
transferred 5000 kroons to Olga Kotova on 30.12.2006. | also do not remember that | would have had
a loan relationship with Rotko's companies.

| saw Tatjana Rotko in the office a couple of times, their daughter was also with her mother. | did not
interact with them. | knew that Aleksandr had a family in America.

The name Corona Resources S.A. rings a bell to me, but | do not know why. | probably saw some
invoices connected with them, but | cannot remember if they came from a time when | was not yet
working in BPV or from the time | was working there.

| cannot add anything more.
Annexes to the Record: no

q Notes on the Record (handwritten): Correctly written according to my word and translated to
me.

8. The parties to the investigation procedure have been explained that, according to § 214 of
the CCP, the data of pre-trial proceedings may be disclosed solely with the permission of the
Prosecutor's Office and to the extent determined by it.

9. The representative of the witness is required to keep the information he or she received
during criminal proceedings in the course of the provision of legal assistance confidential, The
representative is permitted to disclose to the principal the information obtained during criminal
proceedings in the course of the provision of legal assistance. The data of the pre-trial proceedings >
concerning the principal can be disclosed by the representative only with the consent of the princi
and under the conditions provided for in § 214 of the CCP. by

 
 
 

End of Investigation Action: 11.10

 
   

ZA NABARSSS.
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re 0 the original text in Estonian.

  

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(handwritten): Translation from Russian

p.7 Correctly written according to my word and translated to me.

Natalja Tsuga

Siret Ratsepp

Olga Novoseltseva

The interpreter Galina Magi has been warned of lability under §§ 318 and 321 of the Penal Code

sniishniaacdn isinawieibi (signature)

10. The [procedural status and name] who participated in the investigation refused to sign the
protocol because [the reason for the refusal is indicated].

[name and the signature of investigator]

 

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KOOPIA
Translation from Estonian language 4 (0
TRUE COPY
22.12.2006

Jekaterina Erlic
The director’s assistant
/signature/

Paldiski Ports Ltd,
Peetri 31
76801 Paldiski

The 25" of August no. 6-206B

Application

Hereby the BPV Company is requesting you to pay our invoice no. 292/25.08.2006 to
Merimpex Company’s (P.O. Box 1525, Kotzebue 5/11, 10402 Tallinn) account pursuant to
mutual agreement between the BPV Company and Merimpex Co.Ltd.

Account no. 5005786729
Nordea Bank Danmark Ltd.
International Branch

Strandgade 3

Postboks 850 0900 Kobenhavn C

Regards,

Olga Kotova
The member of the board

 

: XOOPIA
Translator N. Ivanova has been warned of the liability pursuant to sections 318,32} of the Penal C a

ANDRE! VORONIN
PAHJA RINGKOMAPRIKURATUUR
RINGKONNAPANKIRAR

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COPY

APOSTILLE KOOPIA

 

(Hague Convention of 5 October 1961/Convention de La Haye du 5 Octobre 1961)

1. Country: The Republic of the Marshall Islands

This Public Document

2. has been signed by Patricia B. McDermott

 

 

5, acting in the capacity of Deputy Registrar, Republic of the Marshall Islands

 

4. bears the seal/stamp Registrar of Corporations, Republic of the Marshall Islands
Certified
5. at Reston, Virginia 6. on September 20, 1996

 

 

re by Deputy Commissioner of Maritime Affairs of the Republic of the Marshall Islands

 

é. Number: R-147-9/96

9. Seal/Stamp I0. Signature;

 

 

KOOPIAMIGE

ANDREI VORONIN
CAHJA BINGKONMAPROKURATUUR ae
RINGKONNAPROKUROR

 

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Case 3:19-mc-00027-BJD-JRK Document 1-3 Filed 11/19/19 Page 57 of 57 PagelD 165"

KOOPIA

 

THE REPUBLIC OF THE MARSHALL ISLANDS

REGISTRAR OF CORPORATIONS

RE: MERIMPEX CO, LTD.
FILED: September 20, 1996

THIS IS TO CERTIFY that the within document is a true and correct
copy of the ARTICLES OF INCORPORATION of the above named corporation,
duly filed with the Registrar of Corporations effective on the date indicated above

pursuant to the Marshall Islands Business Corporation Act.

WITNESS my hand and the official seal of

the Registry on September 20, 1996.

s ae
fice c i

Deputy Registrar

KOOPIA QIGE /7

ANDRE! VORONIN
POHJA RINGKONRAPROKURATUUR
RINGKONNAPROKLIAAR

 

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